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                       EXHIBIT A
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 DISTRICT COURT, DENVER COUNTY, COLORADO
 1437 Bannock St.                                   DATE FILED
 Denver, CO 80202                                   July 30, 2024 9:11 AM
                                                    FILING ID: D6D15E602BBAD
                                                    CASE NUMBER: 2024CV32321
 Plaintiff:

 VICTOR MOSES,
 v.
 Defendants:

 CITY AND COUNTY OF DENVER, COLORADO,
 DENVER HEALTH AND HOSPITAL AUTHORITY,
 TODD GENTRY, individually.
 STEPHEN MARINO, individually;
 ANTHONY NORMAN, individually;
 FELIPE CERVANTES, individually;
 KYLE CARTER, individually;
 JOHANNA AITKEN, individually;
 LISA AITKEN-NELSON, individually;
 JASON MOORE, individually;
 DAMON ROMAN, individually;
 E. M. ALFARO, individually;                               pCOURT USE ONLYp
 BRIAN CAMOZZI, individually;                               _________________
 COURTNEY WHAM, individually;
 TAEGIN SUNG, individually.                                          Case No.:
 Plaintiff’s Counsel

 John R. Holland, #5246
 Anna Holland Edwards, #35811
 Erica Grossman, #39342
 Holland, Holland Edwards, & Grossman, LLC
 1437 High Street
 Denver, CO 80218
 Phone: 303-860-1331
 Facsimile: 303-832-6506
 john@hheglaw.com
 anna@hheglaw.com
 erica@hheglaw.com

 Darold W. Killmer, #16056
 Reid R. Allison, # 52754
 KILLMER LANE, LLP
 1543 Champa St., Ste. 400


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 Denver, CO 80202
 Phone: 303-571-1000
 Facsimile: 303-571-1001
 dkillmer@killmerlane.com
 rallison@killmerlane.com

          COMPLAINT AND JURY DEMAND WITH CERTIFICATE OF REVIEW

      Plaintiff Victor Moses, by and through his attorneys, HOLLAND EDWARDS & GROSSMAN,
LLC and KILLMER LANE, LLP, respectfully alleges as follows:

                                    I. INTRODUCTION

        1.       Victor Moses was a police recruit at the Denver Police Academy. He took this
picture in his recruit uniform, when he was still proudly hoping to become a Denver Police Officer:




        2.      Victor Moses never became a police officer. Instead, he was catastrophically
injured and permanently disabled on January 6th, 2023, during the Police Academy’s extremely
violent recruit hazing ritual, known to all Denver Police as “Fight Day”:




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       3.      “Fight Day” is a training by the Police Academy that requires recruits to do
scenario-based drills, related to arrest, arrest control, overcoming resistance, self-defense,
rendering aid, and follow up techniques.

         4.      While “Fight Day” purportedly provides necessary police arrest and seizure
training, in reality, it has become a barbaric hazing ritual. During this four-stage “run the gauntlet”
event, Denver police recruits must endure extreme exertion while being subjected to a series of
violent assaults. Each recruit must complete all four stages as a condition of becoming a police
officer.

       5.      During his Fight Day, Victor Moses, who Defendants knew had sickle cell trait,
was repeatedly assaulted by multiple Denver Police officers, while Denver Health and Hospital
Authority paramedics watched, tolerated, and enabled the officers. Even after his blood pressure
crashed, his head slammed onto a tile floor, he repeatedly collapsed and lost consciousness, he
reported experiencing extreme cramping and fatigue, and was so incapacitated he could not stand
up or walk even with assistance, he was pressured by police and cleared by paramedics to endure
even more assaults, until he was finally transported to the hospital unconscious, facing death.

        6.     Victor Moses was hospitalized for the next four months. He underwent numerous
surgical and medical procedures, including multiple fasciotomies and extensive dialysis. Both of
his legs were amputated just below the knee.

                                          II. PARTIES

       7.     At all times pertinent to the subject matter of this litigation, Plaintiff Victor Moses
was a citizen of the United States of America and a resident of and domiciled in the State of
Colorado.

       8.     Defendant City and County of Denver (“Denver” or “Denver Police”) is a Colorado
municipal corporation, and is properly sued for the conduct complained of herein of its police
department and officers.

       9.      Defendant Denver Health and Hospital Authority (“Denver Health” or “DHHA”)
was created by the Colorado legislature as a body corporate and political subdivision of the State
of Colorado, pursuant to Colorado Revised Statutes § 25-29-101, et seq. The work of Denver
Health paramedics is directly related to the operation and purposes of a public hospital. Paramedic
services are a core service of DHHA, which oversees and controls the paramedic division’s
operations, policies, and practices. DHHA which through the hospital supervises and trains
paramedics, including the specific individual paramedics sued herein.

      10.      Defendant Todd Gentry is a Technician employed by the Denver Police Department
and was at all material times a resident of the State of Colorado.

      11.    Defendant Stephen Marino is an Officer employed by the Denver Police
Department and was at all material times a resident of the State of Colorado.


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      12.     Defendant Anthony Norman is a Technician employed by the Denver Police
Department, and was at all material times a resident of the State of Colorado.

      13.    Defendant Felipe Cervantes is an Officer employed by the Denver Police
Department and was at all material times a resident of the State of Colorado.

      14.      Defendant Kyle Carter is an Officer employed by the Denver Police Department
and was at all material times a resident of the State of Colorado.

      15.    Defendant Johanna Aitken is a Technician employed by the Denver Police
Department and was at all material times a resident of the State of Colorado.

      16.    Defendant Lisa Aitken-Nelson is a Technician employed by the Denver Police
Department and was at all material times a resident of the State of Colorado.

      17.      Defendant Jason Moore is a Technician employed by the Denver Police Department
and was at all material times a resident of the State of Colorado.

      18.    Defendant Damon Roman is a Technician employed by the Denver Police
Department and was at all material times a resident of the State of Colorado.

      19.      Defendant E.M. Alfaro is a Technician employed by the Denver Police Department
and was at all material times a resident of the State of Colorado.

      20.      Defendant Brian Camozzi is an Officer employed by the Denver Police Department
and was at all material times a resident of the State of Colorado.

       21.      Defendant Courtney Wham was at all material times a Paramedic employed by
Defendant Denver Health and Hospital Authority in the Paramedic Division (DHPD), and a
resident of the State of Colorado. Defendant Wham provides medical care and medical
transportation to injured individuals consistent with the definition of a public hospital.

       22.      Defendant Taegin Sung was at all material times a Paramedic employed by
Defendant Denver Health and Hospital Authority in the Paramedic Division (DHPD), and a
resident of the State of Colorado. Defendant Sung provides medical care and medical
transportation to injured individuals consistent with the definition of a public hospital.

                           III. JURISDICTION AND VENUE

       23.     This action arises under the Constitution and laws of the State of Colorado and of
the United States. Claims are asserted herein under Colo. Rev. Stat. § 13-21-131 against the
individual defendant peace officers acting under color of law, under Colo. Rev. Stat. § 24-10-
106(1)(b) against DHHA for negligence in the operation of a public hospital, and under Colo. Rev.
Stat. § 24-10-118 against the individual paramedics for their willful and wanton acts and
omissions. Claims are also asserted against all defendants under 42 U.S.C. § 1983.


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        24.     Venue is proper in the City and County of Denver District Court under Colorado
Rule of Civil Procedure 98, as Denver County is the county in which Plaintiff resides, where most
if not all defendants reside or can be found, as the County where all of the events complained of
took place, and it is also the venue choice designated by Plaintiff.

       25.     Timely notice of claims was given to Denver Health under Colo. Rev. Stat. § 24-
10-101 et seq as required by the Colorado Government Immunity Act.1

        26.     This action is exempt from C.R.C.P. 16.1. Plaintiff and counsel have explored the
options and potential benefits of Rule 16.1 and application of the Rule to this action would not be
appropriate. Additionally, Plaintiff seeks a monetary judgment substantially in excess of the
limitations for action under Rule 16.1. Therefore, C.R.C.P. 16 shall govern this action.

                             IV. FACTUAL ALLEGATIONS

        27.     Victor Moses was raised in Florida and earned a Bachelor of Science degree from
Florida State University in 2016. At the age of 27, he moved to Denver, hoping to embark on a
career of service as an officer with the Denver Police Department.

        28.     Victor Moses began the process of applying to become a Denver Police Officer in
the early part of 2022.

        29.     He passed the interview and background investigation stages of the process, was
hired as a Police Officer Recruit, and accepted into the DPD Police Academy.

       30.    Mr. Moses excelled through his first three months of training, including frequent
strenuous gym workouts, as well as practicing use of force techniques.

     Victor Moses Disclosed Having Sickle Cell Trait in His DPD Academy Application

        31.    The Denver Police Department mandates recruits to disclose certain medical
conditions on a Medical History Form, which requires evaluation and approval by a Denver Health
doctor.

       32.    The Medical History Form was explicitly intended to put Denver and Denver
Health on notice of, among other things, physical or medical conditions that might impact the
appropriateness of a candidate for the position of Police Officer, conditions that may need
accommodations to safely complete police training or perform police work, or conditions that the
department should be aware of in its program.


1
 Although not required, as no state tort claims governed by the Colorado Government Immunity
Act are stated against the individual officers or the City and County of Denver, Plaintiff also gave
notice of claims to Defendant Denver.

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        33.     The Medical History Form specifically states that it seeks to identify any “issues of
particular concern,” which include “risk factors for rhabdomyolysis (such as thyroid disease, renal
disease, statin use, sickle cell trait, and sickle cell disease.).”

       34.     Section 3.6 of the form asks specifically about Blood Disorders.

       35.      On the application’s Medical History Form, Mr. Moses expressly disclosed that he
had sickle cell trait (“SCT”) by checking off the box for SCT and adding “both my parents & I
have the trait but never had any problems”:




        36.     Dr. Kelsey Smithhart at Denver Health cleared Mr. Moses in July 2022 to
participate in the Academy training regimen, including “Fight Day.”

       37.    Thus, before and during Fight Day, Defendants Denver and Denver Health both
knew that Victor Moses had SCT.

             “Fight Day” is an Official and Mandatory DPD Academy Program

        38.    Denver requires all Police Officer candidates to complete the DPD Police Academy
as a condition of becoming a badged officer.

       39.      Nearly half-way through their training in the Academy, the recruits participate in
scenario-based drills, which are supposed to train and test them on arrest control techniques. Per
P.O.S.T., the drill must at least include the following techniques: “Proper initial approach and
contact, verbal skills, de-escalation of subject/scenario, escalation and de-escalation of force, self-
defense, arrest control, overcoming resistance and proper follow-up procedures such as
handcuffing, rendering aid, etc.”

       40.    One of its stated objectives is to teach arrest control, “ability to engage/escalate and
disengage/de-escalate as appropriate,” and principles of when to render aid.

         41.    The Dynamic Action Drill (DAD) has come to be known among Academy recruits
and graduates, as “Fight Day.” All recruits are told that failure to complete Fight Day will result
in their being dropped from the program, meaning they cannot become a Denver Police Officer.

       42.    Denver clearly knows that completion of the DAD program will require substantial
physical and mental stress and exertion by the recruit. Thus, DPD’s Arrest Control Techniques
Subject Matter Expert, Technician Klukas, reports:




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       DAD 1 is designed to induce stress on the recruit’s cognitive abilities that will
       armor them against overactivation of the Sympathetic Nervous System (SNS) in
       future high stress situations. Through inoculating them in this fashion, it should
       provide them with a winning schema.

       43.     DAD consists of four stations, and the total time of the exercise is supposed to be
8 minutes in length.

        44.     Station 1 is the Combatives/Defensive Tactics stage. This drill is supposed to last
two minutes, with a sufficient break after the completion of the drill to ensure it is safe to continue
to the next stage. This station requires the recruit to deliver repeated punches, kicks and knee
strikes against either a standup dummy or pads wielded by the drill trainers upon command, while
simultaneously receiving multiple commands and physical distractions. The recruits are
encouraged to keep striking as if they were engaged in an altercation. A primary focus of this
station is to cause the recruit to become physically tired because of the significant endurance
required to complete this stage.

        45.    Station 2 is the Baton Endurance Drill. This drill is supposed to last one minute
and thirty seconds. The focus of this stage is to require the recruit to confront multiple “assaultive
subjects” and others. The recruit is given a padded baton and they enter an area where there are
four staff members, who each have a large pad. The staff members attack the recruit with 2 foot
by 2 foot padded bags, simulating an attack by more than one assaultive subject. The recruit is
supposed to strike the pad holder that attacks them, where the pad holder should take a step back,
simulating that the strike was effective. This is a dynamic part of the drill where the recruits often
are knocked to the ground, as was Plaintiff Moses.

         46.     Station 3 is the Ground Fighting Drill, which is supposed to last two minutes. The
recruit is stripped of their protective gear and placed on the ground, where a staff member, who is
specifically trained in ground fighting, maintains a dominant position. According to DPD, this is
done to have the recruit fight through fear to continue to protect themselves, as well as attempt
simulated radio communication to request help.

        47.    Station 4 is the Arrest Scenario Drill and is supposed to last two minutes and thirty
seconds. The recruit is put back in their protective gear and given instructions to contact and arrest
the primary aggressor in an assault that they witness. The “assault” is two staff members, both in
protective gear, mimicking an assault where one of them is clearly the aggressor. When the recruit
contacts the aggressor, the aggressor (staff member) begins to assault the recruit, where they have
to defend themselves and win the confrontation, resulting in a prone handcuffing position.

        48.    The police officer trainers, supervisors, assistants and role players during Fight
Day, were conducting a live police training, specifically intended to properly instruct and model
to recruits how to constitutionally perform the duties of police officers, including with respect to
de-escalating the use of force and rendering of medical care to injured persons during arrests and
seizures.



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        49.    Thus, it is also clear that this express arrest and seizure training practice is governed
by the constitutional principles “learned during Academy training,” which all reasonable police
officers know govern the use of force, arrests, seizures and care of the injured in police custody.

       50.     These principles obviously include clearly established Fourth and Fourteenth
Amendment principles the Academy teaches recruits govern the use of police force, seizure and
rendering aid to injured persons in police custody after police encounters, as here.

        51.       Following such clearly established use of force and rendering aid principles, all
police defendants were constitutionally obligated during these training exercises “to immediately
stop a drill if they have reason to believe a participant’s health or safety is in jeopardy.”

       52.      Describing the partnership with Denver Health and its paramedics, the DAD
program assures the recruits that a “Sergeant pre-arranges for EMS to be on scene at least seven
days prior to the event (prefer two ambulances).”

       53.     Many police recruits have been injured over the years during this ritual.

        54.    Technician Klukas also asserted in the Fight Day written materials (despite
evidence to the contrary): “I can say with complete confidence that the drill is run safely, controlled
and in the utmost professional manner possible to deliver this valuable and tangible skill set.”

       55.      The written time restrictions are routinely violated, as are the duration of the
required rest periods between stations, causing recruits to endure the physical and emotional stress
for longer than reflected in the written program materials, at increased danger to the health and
well-being of the Recruit Officer.

        56.    The DAD program specifically requires that, for safety reasons, the following
“will” occur on the day of the Program’s administration:

   o “During this briefing, recruits will be given the opportunity to disclose specific or general
     limitations.”

   o “Recruits should also disclose any medications they are taking that may affect their motor
     control or coordination. Recruits will be told that they may disclose limitations/medications
     during the safety briefing or privately at any point during the training. At least two
     Academy staff members will be present during this safety briefing.”

       57.     Contrary to these mandatory safety conditions, Denver did not provide the
opportunity for Plaintiff to again disclose his specific or general limitations, and only Technician
Gentry was present during the brief safety briefing, rather than “at least two” staff members being
present.




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        58.    While people with SCT like Mr. Moses can safely participate in extensive physical
training exercises, they are at increased risk for serious medical complications such as exertional
collapse, rhabdomyolysis, and even death.

       59.     Rhabdomyolysis is a life-threatening medical condition causing a breakdown of
muscle tissue. It can occur when the body is pushed too hard, such as during high-intensity
exercise, and can lead to permanent disability or death.

       60.    Denver Police and Denver Health indifferently ignored and failed to implement
well-known training guidelines designed to ameliorate the known recurring risks associated with
SCT and extreme physical exertion or force, guidelines specifically developed for recruits with
SCT and widely used in similar situations such as training for the military or professional athletes.

       61.     Despite knowing of the potential complications associated with sickle cell trait, and
that Mr. Moses had it, Defendants Denver and Denver Health did not adequately train its officers
or the paramedics assigned to Fight Day to recognize the signs and symptoms of exertional
collapse, or provide accommodations that would have mitigated the risks inherent in excessive
exertion at high altitudes by people with SCT.

   Victor Moses Became Permanently Disabled by the Unreasonable Force Used During
   Fight Day, and by the Deliberate Indifference to his Obvious, Serious Medical Needs.

       62.    On January 6, 2023, Fight Day was held at the Denver Police Academy for the
approximately 40 recruits in Plaintiff’s Basic Recruit Class.

       63.     Victor Moses was the last recruit officer in his class to begin the Fight Day gauntlet.

       64.      Before his turn, one of his fellow recruits had already suffered a broken nose, and
several others had sustained injuries, requiring treatment at the hospital. Technicians were not
stopping their assaults when they should. Recruit Officer Kimmie Shui reported that on Fight Day
there were “lots of injuries getting thrown everywhere” and reported that on an earlier Fight Day
she had torn her ACL.

      65.      After completing Station 1, Mr. Moses was very fatigued, which individual
Defendants all knew.

       66.     Despite his fatigue, Mr. Moses was moved to Station 2 – the Baton Drill.

       67.     During this station, Victor Moses was hit and knocked down multiple times by very
aggressive officers, including Defendant Marino. Officer Marino used his large pad and body to
hit Moses so hard that, during one of the many knock downs, Officer Marino violently drove him
completely off the large mat, causing him to fall over and slam his head on the hard tile floor.




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        68.    Mr. Moses was observed to be winded, bending over, and trying his best to
continue, even after being shoved off the padded mat and hitting his head on the tile. During Station
2, he collapsed multiple times, even losing consciousness.

       69.    Despite hitting his head on the tile, passing out and collapsing, Defendant
Technicians exerted pressure and coercion on him to continue, including physically lifting him up
themselves so he would complete Station 2.

        70.   Finally, Mr. Moses collapsed to the point that Defendant Safety Officer Gentry
called paramedics over to check on him.

       71.     Paramedic Defendants Wham and Sung were stationed near the drills and were
responsible for monitoring them. They were called upon to assess and treat their patient Victor
Moses after he was injured due to the force inflicted upon him.

         72.     These Paramedic Defendants had been sitting there for hours throughout the
morning, watching all the recruits go through Fight Day. They saw Mr. Moses hit so hard that he
fell off the large padded mat and traumatically slammed his head on the tile. They also saw Moses
fall from repeated hits and blows, before they were called over to evaluate him because he lost
consciousness.

        73.    Paramedic Defendants saw that Mr. Moses was unable to even stand up or freely
move, even after he again briefly regained consciousness in their presence. Moses was described
by staff to POST inspectors as having “spaghetti legs” and “unable to get up."

      74.     Mr. Moses told paramedics that he was “extremely fatigued” and experiencing
“extreme leg cramping.”2

       75.     Cramping in the lower extremities is a well-known danger sign for people with
SCT, as military and police training protocols widely recognized.

       76.    The Paramedics took Mr. Moses’s blood pressure, which was 90/60, an extremely
low blood pressure for a person engaging in strenuous physical activity.

       77.    Exercise induced hypertension is commonly understood to occur during such
strenuous exercise, causing blood pressures that can approach or exceed 200 on the top.

       78.     Given Plaintiff’s extreme exertion which they had just observed, with little
recovery time between stations, these paramedics knew Victor Moses’s blood pressure should have
been significantly higher at the time.

       79.     A sickling-type event causes lower blood pressure by decreasing blood flow.

2
 Throughout this complaint, Plaintiff is highlighting various specific factual quoted statements
and other allegations. Undersigned counsel has supplied these emphases.

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       80.    Any reasonably trained paramedic knows that exertional sickling is a medical
emergency in persons carrying the sickle cell trait, that fatigue, debilitating leg cramping, and low
blood pressure during strenuous physical activity is associated with SCT, and that these serious
medical symptoms put people at risk for serious injury and death without proper treatment and
rest.

      81.   Mr. Moses expressly told these paramedics that he had SCT, as they charted in the
Ambulance Report: “Pt reported that he had sickle cell trait but not sickle cell.”

       82.     Thus, these paramedics knew that Moses, who had SCT and was engaged in
strenuous activity at high altitude, was fatigued, complaining of leg cramping, had lost
consciousness, had a low blood pressure, was unable to stand or move on his own, and was in
danger of exertional collapse and resulting serious medical complications.

          83.   Notably, Defendant Wham was then a 3rd or 4th year medical student.

          84.   Nonetheless, the Paramedic Defendants cleared him to continue the Fight Day
drills.

        85.    They specifically told the Defendant officers that his blood pressure was measuring
only at 90/60, but that while “his blood pressure was low. . .he could continue.”

         86.    These paramedics ‘cleared’ Mr. Moses to keep fighting despite knowing that it was
medically necessary to stop the training drills, given the severity of symptoms and related further
likely risk to Mr. Moses.

       87.    Here is a picture of Defendant Paramedic Wham and Defendant Officer Gentry
with an incapacitated Victor Moses:




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        88.    Defendant Paramedics evinced their awareness of the obvious danger to Moses in
clearing him for more physical force and exertion, by making a plan to keep “medics standing
close by with pram and equipment.”

         89.     Defendant Paramedics and Defendant Officers heard involved officers, including
Defendant Gentry, repeatedly pushing Victor Moses to continue despite his incapacitated physical
state, telling him to “not give up.”

        90.     Defendant Paramedics and Defendant Officers knew that Moses did not under those
circumstances have the capacity to voluntarily consent to continued fighting and force, and that
these officers could not rationally ask a person who had been knocked unconscious and seriously
concussed, if they wanted to continue (knowing that if they did not, they would lose their potential
career as a police officer).

        91.    Defendant officers tried to get Mr. Moses to his feet to take off his pads and walk
to Station 3. Mr. Moses still could not stand up. He was too weak to take off his own pads and
move to the area where Station 3 was held.

         92.    Plaintiff was so obviously incapacitated and unable to move that the trainers of the
drill, including Defendant Gentry, gave direct orders to have Station 3 brought to him because
Plaintiff was unable to freely move himself due to his injuries from the intentional assaults inflicted
on him in Station 2.

        93.     Victor Moses was unable to meaningfully participate in the Station 3 drill, in which
a trained officer mounts the recruit, and the recruit is supposed to try to break free.

       94.     Nevertheless, Defendant Camozzi began “ground fighting” and wrestling with the
incapacitated Mr. Moses, hitting him in the head several times.

       95.    About 30 seconds into Station 3, while Defendant Camozzi was putting his body
weight and pressure on him, Mr. Moses gasped “I can’t breathe,” feeling like he was suffocating.

       96.     This is a picture of Defendant Camozzi laying on Moses with Defendant Gentry:




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       97.     He eventually “became limp” and unresponsive.

       98.     Defendant Paramedics again came to check on Mr. Moses, who was now
unarousable even by sternal rub – a pain technique used to arouse people who have lost
consciousness.

       99.     Then Recruit Officer Kimmie Shui noted about this final event that:

       After another maybe, 20-30 seconds Moses got on his side and the technician got
       off of him, the paramedics ran out on the mats and put him on the stretcher. At this
       point the staff gathered everyone and introduced all the volunteers. I could see
       Moses in the back on the stretcher by the scenario house and it looked like Moses
       was having trouble. . . After another short period it looked like Moses lost
       consciousness and the paramedic was performing sternal rubs.

        100. Mr. Moses arrived at the hospital unconscious, tachycardic, hypotensive with no
effective ventilations, experiencing severe lactic acidosis and hypertrophic cardiomyopathy.

       101.    He was near death.

                The Paramedics and Officers Lied to Doctors at the Hospital,
                     Compromising his Course of Care and Treatment

        102. Defendant Technician E.M. Alfaro was reportedly the first to arrive at the hospital
after the ambulance driven by the Paramedic Defendants. He was followed by Sergeant Quinones.

        103. Defendant Paramedics and involved Defendant Officers told Dr. Martin Ezekiel
Musi about Mr. Moses passing out in Station 2, specifically telling him that he was “2 phases into
the training when he experienced a syncope.”3 They further stated: “Before starting the next phase
of training (grappling) patient become weak and suddenly collapsed, attempted to stand up, and
again collapsed with syncope and change in mental status.”

        104. The officers and paramedics knew that he had been rendered unconscious several
times. They also knew that he had engaged in substantial exhausting physical exercise, knew he
suffered direct trauma, including repeated traumas to his body during the drills, knew that he had
fallen several times, and knew that he had violently hit his head on a hard concrete surface.

        105. However, in response to repeated questions by the emergency medical team about
Mr. Moses’s injuries and the cause, Denver police officials and paramedics repeatedly falsely
stated that Moses had not experienced “direct trauma.”

3
  Syncope is the medical term for fainting or passing out. Someone is considered to have syncope
if they become unconscious and go limp.


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       106. Thus, ER Dr. Musi charted that he met with the paramedics and with a “Police
Academy Instructor,” stating that, “repetitive times the instructor denied direct trauma to the
chest abdomen pelvis or suffocation,” and said that there was “no significant traumatic
mechanism of injury. . .”

        107. Doctors were asking these questions because it impacts critical medical decisions
which must be made based upon the information provided to the doctors, including what
medications would be given to Mr. Moses. These falsehoods denying any “direct trauma” were
especially pernicious as the emergency room hospital staff were asking these questions precisely
so that they could properly and optimally treat Plaintiff while trying to save his life.

       108. Dr. Musi and the hospital medical team made care decisions based on being misled
by paramedic defendants and by Defendant Instructor Alfaro, and/or Sergeant Quinones, that
Victor Moses had experienced no “direct trauma.”

       109. Mr. Moses developed severe compartment syndrome, rhabdomyolysis, malignant
hyperthermia, and severe hyperkalemia. He was intubated, in a coma, and near death.

        110. He spent over four months bedridden in the hospital. He has undergone many
surgeries, including below the knee amputations of both legs, multiple fasciotomies, and arm
surgeries. He also suffered severe internal injuries to multiple organs, which continues to require
significant medical care. In July 2024 he underwent major surgery for about 8 hours in an effort
to restore some gripping function in one hand.

       111. Mr. Moses now has prostheses which often bleed when he uses them, requiring him
to endure the daily risk of infection and further amputation. His arms and hands are severely
compromised. The pain he has consistently experienced is truly incomprehensible, requiring daily
high doses of pain and other medications. His injuries and damages caused by the events of January
6, 2023, are profound and lifelong.

       112. Victor Moses did not become a police officer. Fight Day rendered him permanently
and severely disabled.

                   Denver Tried to Cover-up Their Conduct and Liability

         113. Despite his express disclosures of having SCT to the Police Department and Denver
Health, DPD members, including Defendant Gentry, Sergeant Virginia Quinones, and Defendant
Moore, falsely reported to investigators that DPD asks recruits about their medical background
and conditions, but “Moses never provided information to indicate he had any medical concerns
or restrictions.”

       114. While Victor Moses was still in the hospital, DPD told the media that this was all
caused by a pre-existing and undisclosed medical condition.



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       115. Denver police officers also continue to lie about their own conduct and the resulting
trauma Mr. Moses suffered, specifically denying that he slammed his head on the hard floor when
they pushed him off the mat.

       116. Many officers saw Victor Moses hit his head hard on the unpadded floor. Indeed,
Officer Marino, the one who with excessive force drove him off the mats when he hit his head,
included that information in his report. Yet not one other Defendant Technician, Training Officer,
or Academy supervisor included the obviously significant information that Mr. Moses hit his head
and none of them included that he had passed out in their reports.

        117. On a Recruit group chat soon after Fight Day, Recruit Officer Zachary Vasquez
joined a discussion about how the DPD, through Michelle Folmer and Defendant Alfaro, were
falsely asserting that Victor Moses did not hit his head or suffer any trauma, writing: “I mean the
bulk of us witnessed him fall head first on the tile, they don’t have much of an argument
against it. . .” He added: “Best thing we can do is give an honest account of what we saw. An
utter lack of care for the well being of recruits.”4

        118. Jacob Mills further shared that: “I brought it up and Folmer looked at Alfaro like ‘I
never heard that and Alfaro said that it didn’t happen he was watching him the whole time.’” Jacob
Mills added: “If they try to say something different, I won’t let Moses go out like that. They need
to be accountable for their actions.”

       119. These knowingly false statements were made to divert from and cover-up their own
responsibility for Plaintiff’s injuries.

      120. Defendant Denver Police has also represented that there is no video footage of Mr.
Moses during Fight Day.

        121. However, on the Recruit chat board, Kimmie Shui stated that there is video of all
this: “Tech [A]itkin is in charge of videography and she has all the footage of the entire thing. If
she says they don’t they[’]re lying.”

        122. Any video footage (or other evidence) that existed, if destroyed, will be subject to
spoliation sanctions.

            The Violent Assaults and Deliberately Indifferent Medical Response
                  Was Witnessed by Many Police Recruits and Officers

       123. While Defendants tried to cover up their own liability, many recruits and officers
witnessed Victor Moses concussively slamming his head onto the ground, repeatedly losing
consciousness, and being pressured to continue the drills by multiple defendant officers.


4
  This was in response to statements by Recruit Officer Jacob Mills, who was also hospitalized for
injuries from this Fight Day.

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         124. Many of Victor Moses’s classmate recruits have powerfully described these events
in their reports and in statements to one another on the Recruit Chat text string.

        125. Recruit Officer Ashley Bravo Gallagher reported that after Defendant Marino
knocked Victor “off of the mats on to the tile,” she saw “Moses stand back up and walk back
onto the mats where he struck a pad and then collapsed.” She says Victor Moses was then
“able to stand up again, hit another pad and fell to the ground again. This time he did not stand
up right away. I saw Tech Roman grab him by the bar on his right head gear.” After they
talked she reports she saw “Moses stood back up one last time before he fell to the ground
again.”

        126. Recruit Officer Donald Thomas observed that during the Station 2 Baton Drill
“[a]fter multiple pushes from the trainers, Moses fell backward, towards the stage, off of the
mat, and hit his head on the concrete. . . Moses appeared winded and began to bend at the waist.
At one point Moses fell to his knees, got up and fell to his back. . .”

        127. Recruit Officer Wayne Lacrue also observed the Station 2 Baton Drill and
Technicians pressuring him to continue, stating: “After striking the bags a couple of times, Moses
was then shoved by a bag holder causing him to fall backwards off of the padded area and onto
the concrete floor. When Moses fell onto the concrete floor, he hit the back of his head. Moses
laid there for a couple of seconds but then was pulled up and told not to give up. Moses continued
with Phase 2 but appeared to be dazed”. . . [Moses] continued and was “getting shoved by the
bagholders. Moses then appeared to pass out and fell to the ground. Moses was then checked by
the paramedics. Moses was then cleared by the paramedics and continued to Phase 3 but appeared
to be dazed and out of it. Moses then started Phase 3 (ground fight) and halfway through it Moses
passed out and went limp. . .”

        128. Recruit Officer Ivan Lopez reported that he watched the Station 2 baton phase,
stating that: “I could see that R.O Moses was tired by this time. . . Once the second phase began,
R.O Moses was knocked down about four times. One time in particular R.O. Moses was pushed
off the mats and fell backwards onto the concrete floor where his back of the head slammed
down on the concrete. After that he attempted to get back to his feet but was having a difficult
time doing so. He continued the drill until he was knocked down again on the mats and appeared
to not have the strength or balance to get back up. After a few attempts from the staff to help
him on his feet, he collapsed and the medical staff rendered assistance. . .”

        129. Recruit Officer Joseph Herkimer reported with respect to Station 2 that: “I
witnessed him go off the mat and get knocked over on the mat and get back up. I then saw [M]oses
get knocked down on the mat again but this time he did not get back up. I saw the Officers and
Technicians try and stand him up and he collapsed back down. The officers and techs then
started taking his pads off. It looked like Moses passed out so I informed the paramedics that I
thought Moses just passed out. . .” He also reports seeing Victor Moses next “continuing in DAD
to Stage Three. I was confused because I thought he had just passed out…”




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        130. Recruit Officer Zachary Vasquez reports that he “watched Moses start the second
part of the drill, the baton drill. Shortly into the drill I witnessed one of the pad holders strike
[M]oses with a pad, pushing Moses off the mats where he fell back and hit his head on the tile of
the hanger. Moses got back up and kept trying to fight, however he began what appeared to be
blacking out (arms and legs going limp, eyes closing, head falling back approximately 3 or 4
times.)” After the paramedics cleared him to continue, “Moses laid on the ground while one of
the participating officers mounted him for ground fighting. Moses appeared to be having the
same issues and blacked out after the officer tried to engage him.”

       131. On the group chat, Recruit Vasquez noted: “What got me was the lack of
attention from the paramedics, they should have stepped in way sooner and stopped it.”

        132. Recruit Officer Kimmie Shui reported that during Station 2, she saw Moses
“collapse to the ground. I saw him get back up again, only to collapse again.” She saw the
“paramedics check Moses pulse on the wrist. . .it seemed as if the paramedics were ok with his
status and allowed it to continue. . . The staff and Moses then continued the baton station, after
what seemed like another 5-10 seconds I saw Moses collapse to the ground again. It looked like
the technicians were talking to him while he was on the ground and instead of physically moving
him to the next station, station #3 (Ground Fighting) they took off his pads on the ground and
started station #3 right where he laid.”

        133. Recruit Officer Preston Riley saw Victor Moses lose consciousness during Station
2, writing: “During this baton section I saw Victor get pushed off of the northeast side of the mats
where he fell to the ground and hit his head. He then got back up again where he was again struck
by a pad holder and fell to the ground. He got up once more only to be knocked back to the ground
where he fell unconscious for a brief period of time. After becoming conscious Victor was
inspected by the paramedics who had been called over[.]”

        134. Recruit Officer Parker Anderson reported that after Station 1, Victor Moses was
“completely out of breath and more disoriented than the rest of the recruits that I watched go.
Starting the second phase of baton strikes, I watched Moses get repeatedly knocked to the ground.
One of the strikes knocked Moses off the mat and onto the ground where he was very slow to get
up. Every strike from that point, I watched him collapse. I watched Moses collapse 3-4 times
before he eventually did not get back up.”

       135.    Recruit Officer Timothy Hays reported:

       In one of the padded attacks, RO Moses fell to the floor just beyond the mats, hitting
       his head on the unprotected ground. He got back on the mats and continued to fight
       for just a short amount of time (roughly 10-15 seconds) before falling down
       multiple times. After his last drop, the staff stripped him of his protective gear. . .
       The paramedics checked RO Moses, cleared him to get going and the Academy
       staff allowed Moses to keep going and allowed Moses to proceed to the next
       evolution (ground fighting). In summary, Moses was physically fatigued entering
       the second evolution of D.A.D. One of the staff participating in the baton drill


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       struck RO Moses with sufficient force to knock him to the ground. RO Moses did
       hit his head on the ground and Moses was visibly unfit to continue through the
       remainder of the baton drill and the ground fighting drill.

        136. Recruit Officer Jason Wright stated: “Every time [Moses] got struck with a pad
he collapsed over and over until one of the times he did not get back up. It appeared to me
that Moses was unconscious.” After the paramedics checked and cleared him, he saw “Moses
wrestling with one of the officers. After about 30 seconds of wrestling I saw Moses go
unconscious again.”

        137. Recruit Officer Alex Keiller saw Victor Moses was extremely fatigued and passed
out thereafter:

       the two volunteers were striking violently, not giving him a chance to strike back.
       Then 1 of the volunteers hit Moses with the pad off the mat and Moses footing got
       tripped up and he fell on his back, arms out extended and hit the back of his head
       on the concrete. He got up slowly, continued with the drill. He then in my view
       fell down on the mat in exhaustion. 2 people picked him up by his arms had him
       continue. Another strike immediately after he passed out fell again and this
       happened for a third and final time. He looked unconscious from my view.
       Paramedics came over checking him they walked off then the next stage ground
       wrestling guy got on top of him at Stage two location and started the next phase.
       Then a tech called the stage over and had the paramedics rush[ed] back out . . .

        138. Recruit Officer Kirk Duhon observed: “I saw him get hit with a pad and fall on the
mats. He stood up and continued the drill. I then saw him get hit with a pad and fall off at the south
side of the mats, hitting his head on the floor. He was helped up and back onto the mats. He
started the drill again and fell on the mats. I saw medical personnel run to him. . .” After the
paramedic defendants cleared Mr. Moses, R.O. Duhon further reported that he saw him “helped
back to his feet and appeared to not be able to stand on his own. He laid on his back as it appeared
as he was starting the ground fighting stage. I saw someone start this stage and within 30 seconds
(estimated) the person was no longer on Moses and Moses laid on the ground. . . I saw medical
personnel rush out to Moses and placed him on a stretcher” . . .

        139. Many of the police recruits felt that Fight Day was more of an intentional hazing
than training.

        140. Recruit Jason Wright wrote on the group chat board: “These guys on those bags
over did it bro. It was more dirty then trying to tire us out.” He added: “Couldn’t even practice
baton strikes. Just got pummeled the whole time. They were trynna hurt us.” He also stated that:
“The part that blows my mind is after [M]oses woke back up they tried to make him finish
it again.” He further commented that, “once I saw him wrestling after going down and passing
out it was totally fucked.” “Moses legit was out cold. Woke back up. And then they let him
go straight back into the wrestling portion and then passed back out cold.” Recruit Wright
concluded: “Yeah they really don’t care, academy staff is a joke man. Getting tired of it.”


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        141. Supporting the conclusion that Fight Day was more of a hazing than training, Kirk
Duhon wrote on the recruit chat board: “To me this seemed like a r[ite] of passage instead of
training” to which Jacob Mills replied: “It was like a gang jump in,” “[t[]here’s no reason we
can barely stand and have to fight against someone who is 100% and have bloody noses/busted
lips/bruises.” Recruit Duhon responded that: “Staff should have stopped it,” “[h]e was passed
out and they were trying to make us clean up[.]”

       142. Jacob Mills responded to Recruit Duhon, saying: “I don’t care if they fucking hate
me after I stand up for Moses. I hope POST comes out, I’ll sing like a song bird.”

        143. Recruit Officer Brian Shoonmaker agreed that the Denver police officers and
trainers did not care about Moses or any of the recruits well-being or safety that day: “Yeah it was
bad. When they are trying to bring Moses back on the stretcher and all the staff cares about is
introducing the fighters to us. they don’t give a fuck.” Recruit Shoonmaker emphasized:
“Everything about that training was bad. We need to be willing to tell the truth even if DPD
tries to cover it up.”

       144. Since the events complained of herein, Station 2 has reportedly been abolished by
DPD or substantially modified to make it less violent, reckless, and dangerous to the Recruit
Officers.

                     Moses was Seized and Subjected to Excessive Force
                 in Violation of the United States and Colorado Constitutions

        145. During Station 2, Victor Moses was rendered unconscious, and unable to stand up,
walk, remove his equipment, or physically move himself to the Station 3 location. Any consent
Victor Moses initially might have given to participate in Fight Day, was entirely vitiated by
Defendants’ intentional assaults, causing his multiple collapses and losses of consciousness during
Station 2.

       146. Victor Moses was thus subjected to excessive force and “seized” within the
meaning of the Fourth Amendment and Article II, Section 7 of the Colorado Constitution, as he
was incapacitated, and his freedom of movement was terminated.

       147. These intentional assaults and resulting incapacity of Victor Moses created a
custodial relationship and a joint duty among all the Defendants to stop the beating of Moses, and
provide him with immediate medical care, which he obviously needed.

       148. As willful participants in this joint unconstitutional activity, all of the Denver Police
and Paramedic Defendants, unreasonably, recklessly and/or intentionally joined in the obviously
impossible mission of securing Victor Moses’ completion of his Fight Day by violating his Fourth
and Fourteenth Amendment rights and his rights under the Colorado Constitution.




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        149. All of the Individual Defendants actively participated in and/or tolerated additional
intentional assaults in their coordinated use of excessive force and seizure on Victor Moses. In this
excessive force, all individual law enforcement officers contributed to it. It was a group effort.
Thus, the axiomatic principle that where several independent actors concurrently or consecutively
produce a single, indivisible injury, each actor will be held jointly and severally liable for the entire
injury applies here. Their conduct is to be judged as a whole.

        150. Despite knowing Victor Moses had been rendered incapacitated and was suffering
from an obvious medical crisis, all of the Individual Defendants were deliberately indifferent in
failing to timely secure or provide emergency medical care.

       151. If this had been a football game or boxing match, the head injury and losses of
consciousness would have ended any continued participation or fighting immediately.

        152. But here, not one Defendant police officer or paramedic intervened to stop the
continued unreasonable excessive force beating of Victor Moses, or to assure his timely emergency
hospitalization, despite their constitutional obligations under Article II, Sections 7 and 25 of the
Colorado Constitution, and the Fourth Amendment and Fourteenth Amendment of the United
States Constitution.

       153. This is how strong the culture and policy of violence was on Fight Day, January 6,
2023, at the Denver Police Academy.

        154. These multiple Defendants also concurrently and consecutively produced the single
indivisible injury and are jointly and severally liable for the entire resulting injuries, because they
willfully participated in this joint group activity, and they failed to intervene to stop the continued
harm being inflicted on Mr. Moses.

                                       Defendant Todd Gentry

       155. Defendant Todd Gentry was one of the assigned leaders and “Safety Officers” for
Victor Moses’s Fight Day experience. In his 1/11/23 report, he admitted that: he “intermittently
observed RO Moses during Station 2 (Baton Stage). During the stage, I observed RO Moses get
knocked down one time, a second time (where he was knocked off the north side of the mats and
onto the concrete), and one more time after that.”

       156. Defendant Gentry wrote that during “the halfway point in Stage Two (+/- 45
seconds), RO [M]oses seemed to have difficulty getting to his feet after he had been knocked
down.”

        157. Defendant Gentry says he went to “check on him and called paramedics over. A
paramedic checked RO Moses” and asked, “what was going on with him” to which Mr. Moses
stated his “legs were cramping.”




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       158. Defendant Gentry heard “the paramedic ask[] him if had Sickle Cell. RO Moses
stated no but that he does have the trait.”

       159. Defendant Gentry also watched the paramedic check Mr. Moses’s blood pressure
and knew that “it was 90/60” -- the extreme opposite of what he expected under such rigorous
exertion and indicative of a serious medical problem.

       160. To this Defendant’s knowledge, Victor Moses was then physically and medically
severely compromised to the point of losing consciousness and likely concussed. He could not
move freely or voluntarily consent to anything, and was rendered a custodial subject.

        161. With deliberate indifference to the consequences of SCT under these circumstances
of extreme physical duress where he already had fatigue, leg cramping, loss of consciousness, and
low blood pressure, Defendant Gentry ordered that Station 3 be brought to Mr. Moses.

        162. Defendant Gentry, with the agreement and cooperation of Defendant Paramedics,
then authorized continued assaults on an incapacitated Moses, and prevented him from obtaining
the emergency medical care he obviously needed, until it was too late. Despite opportunity and
duty, he did not intervene to stop his being further assaulted and ensure timely emergency aid was
rendered.

                                   Defendant Stephen Marino

        163. Defendant Gentry assigned Defendants Marino, Norman, Cervantes, and Carter to
the Station 2 Baton Phase.

        164. Defendant Marino “observed Recruit Officer fall to the ground on the padded mat
after receiving a shove from a pad holder. Recruit Moses got up and continued the drill by
delivering strikes.”

       165. Defendant Marino then pushed and struck Mr. Moses all the way to the edge of the
large mat and until he fell backwards, hitting his head on the hard floor.

        166. Defendant Marino describes this event in his report as follows: “A short time later
Recruit Officer Moses was shoved by a pad holder and fell on the concrete ground just past the
padded mat. I observed Recruit Officer Moses hit the concrete ground and landing on his shoulder
then hitting his head.”

      167. Per Officer Marino, Mr. Moses got off the “concrete ground,” “got back up and
walked on to the padded area.” He then had to “sit down and complained of cramps in his legs.”
Defendant Marino “walked over to Recruit Officer Moses and attempted to assist him to his feet.”

       168. Defendant Marino knew that Mr. Moses had lost consciousness and was now
“unable to stand up.” He knew that Plaintiff’s freedom of movement had been intentionally



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terminated through the use of force by him and the other Defendants assigned to Station 2. He
knew that Mr. Moses was thereby seized and in custody, and obviously needed medical care.

      169. Because Mr. Moses obviously was too incapacitated to remove his own equipment,
Defendant Marino personally “removed his chest and shoulder protector and called for the Denver
paramedic on the scene.”

       170. He also heard from the paramedics that they “determined his blood pressure was
low.” Defendant Marino heard Mr. Moses report his fatigue, extreme leg cramping and his SCT
to paramedics.

        171. Despite ample opportunity, Defendant Marino did nothing to discharge his
constitutional duties to intervene to stop the continuing grossly excessive force by his three mat
partners or Defendant Camozzi during Station 3, or act to get him obviously needed emergency
medical attention.

                Defendants Anthony Norman, Felipe Cervantes, and Kyle Carter

        172. Defendants Norman, Cervantes and Carter were also assigned to Station 2. They
each were involved in excessively forcefully beating Mr. Moses, along with Defendant Marino,
and failing to intervene to prevent further infliction of excessive force.

       173. Each of them knew that Moses had just hit his head on the tile, that he had
repeatedly collapsed, and that he had gone unconscious. Nonetheless, each of these three
Defendants shockingly continued to assault Victor Moses, each knocking him down again and
again when he managed to get up, individually and as a group. They continued doing this until he
was not even able to stand up.

       174.     Each of these Defendants had constitutional duties not to engage in incapacitating
excessive force and to intervene to stop each other from continuing such unconstitutional excessive
force under the State and Federal Constitutions. Despite having ample opportunities to intervene,
each of these three Defendants decided to continue assaulting him instead and all failed to secure
emergency medical care for him that was obviously required.

       175.    They then stood by and watched as Defendant Camozzi took over their beating.

                                   Defendant Johanna Aitken

        176. Defendant Johanna Aitken was working as a Technician at the Denver Police
Academy during this Fight Day. She was checking on the well-being of another recruit who was
also suffering and struggling after completing DAD when she heard “staff call for paramedics”
who she reports were “on stand-by for safety during DAD due its dynamic nature.”




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       177. Defendant Aitken was responsible for videoing Fight Day and did so according to
Recruit Shui. It appears that any such evidence pertaining to Victor Moses Fight Day events has
been spoliated.

       178. This Defendant says she “followed the paramedics to the main mats and observed
Recruit Officer Moses on his back on the mats. Due to where he was on the mats it appeared he
was on phase 2 of the training. He was awake and alert and was moving around saying his legs
were cramping.”

         179. Defendant Aitken personally saw that Victor Moses could not then stand or walk,
that his freedom of movement was then terminated, he was physically incapacitated and in and out
of consciousness. She knew that this constituted a seizure of Mr. Moses.

        180. She also has reported that “[t]he female paramedic asked her partner to get the blood
pressure cuff out of their gear near the Virtra tent. When he returned, she was trying to get his
blood pressure but told him he needed to try to stay still and not move. RO Moses was moving his
hips back and forth and was complaining of cramping. She took his blood pressure and I heard her
tell Tech. Gentry who was kneeling beside RO Moses his BP was 90/60. She said it was low but
that he was ok. I walked away and went back to check on the other recruit. When I walked back
out to the mats just a few minutes later it looked like staff had begun Stage three of the training
with R/O Moses.”

        181. Defendant Aitken also knew that Mr. Moses had just been engaged in extreme
exertion and, even as a lay person, that it was very abnormal to have such a low blood pressure in
that context.

      182. This Defendant heard this interaction with the paramedics and thus also knew that
Mr. Moses had SCT.

        183. Despite knowing all of this, she too did nothing to protect him and ensure that he
not be further assaulted in Station 3, despite having a full opportunity to do so, in violation of her
Colorado and Federal Constitutional obligations to intervene to stop further excessive force.

        184. She did not act to end his restraint and get him emergency medical care at a hospital,
she just stood by watching doing nothing. The infliction of force on Mr. Moses thus continued,
with the Station 3 ground control drills although Mr. Moses was incapacitated and defenseless.

                                  Defendant Lisa Aitken-Nelson

        185. Defendant Lisa Aitken Nelson began watching Victor Moses after she “posted on
the side of the mats as a safety officer.” She has written that she “noticed Rec. Ofc. Moses fall
during the Baton Drill (Station 2) and as they tried to stand him up, I heard him say out loud that
his legs were cramping. I observed the DHMC Paramedics come onto the mats and attend to him.
I observed them take his pulse and blood pressure and ask him some questions.”



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       186. This Defendant, hearing the conversation between Moses and the paramedics, no
doubt not only heard this but also saw that he was extremely fatigued and heard that he had SCT.

         187.   She also no doubt heard the paramedics report that his blood pressure was very low,
90/60.

        188. Nonetheless, she willfully participated in this joint activity with her co-defendant
group. She knew that Victor Moses’ freedom of movement was terminated. She saw that he could
not stand up or walk on his own. She knew he was then in custody from his repeated intentional
police assaults, and she knew that he did not have the capacity to voluntarily consent to being
additionally assaulted.

        189. Despite knowing all of this, and despite having been assigned the role of Safety
Officer, Defendant Aitken-Nelson too did nothing to protect Moses and ensure that he not be
further assaulted in Station 3, despite having a full opportunity to do so, in violation of her
Colorado and Federal Constitutional obligations to intervene to stop further excessive force.

        190. She did not act to end his restraint and get him emergency medical care at a hospital,
but rather just stood by watching doing nothing. This willful inaction is especially damning given
her role on Fight Day of “safety officer.”

        191. She also then knew that he was incapacitated but did not intervene to protect him
and ensure that he not be further assaulted in violation of the State and Federal Constitutional
obligations to stop such excessive force, despite opportunity and obligation to do so.

       192. Instead, Defendant Aitken-Nelson just “watched a ground fighting officer come to
Rec. Ofc. Moses’ location on the mats in station two.” She reported:

         I heard several officers ask Moses ‘You good, you good?’ I observed the ground
         fighting officer roll Moses over and he appeared to be checking on him. I then saw
         the paramedics run onto the mat and grab Rec. Ofc. Moses by his torso and belt and
         lift him onto the gurney. I stayed at my location on the east side of the mats and
         was just talking to people. I looked over toward where the paramedics were and
         observed people hurrying around. I started to walk that way and as I arrived at the
         side of Rec. Ofc Moses I heard the female paramedic say ‘This isn’t good’. . .
         Paramedics began or finished an IV and started to collect their gear and wheel
         Moses out. I grabbed the IV bag and began to order recruits to grab paramedic gear
         and bags. I observed Moses and he appeared to be unresponsive. As the paramedics
         wheeled Moses across the hanger and towards the east hanger doors, I began
         sternum rubs on Moses to try to wake him up. Paramedics got Moses into the
         ambulance and I requested two officers to ride in the ambulance to assist with CPR
         if needed.




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                                      Defendant Jason Moore

       193. On 01/06/23, Defendant Jason Moore was working at the Denver Police Academy
as a Technician for the DPD.

       194. Defendant Moore had extensive knowledge of Victor Moses’s incapacitated state
and knew his freedom of movement had been terminated by the group’s collective assaultive force.

       195. Defendant Moore also knew that Moses did not have the capacity to voluntarily
consent to the continued use of force against him given his debilitated condition after collapsing
and going unconscious several times during Station 2.

       196. Defendant Moore nevertheless also made the deliberate decision not to intervene to
end the continued unconstitutional excessive force seizure of Victor Moses and instead obtain
emergency medical care for him despite having ample opportunity and obligation to do so.

      197. Defendant Moore “saw that he was knocked to the ground more than once. The last
time … he did not get up.” Defendant Moore then knew Moses could no longer freely move.

        198. Defendant Moore saw and heard as “Technician Gentry, who is the Academy lead
instructor for ACT, was the specific Safety coordinator for stages three and four, approached
Recruit Moses and spoke to him while he was on the ground.”

        199. Defendant Moore heard “Technician Gentry request the paramedics, who are
always on standby during a DAD, to come and check on Recruit Moses. I later learned that Recruit
Moses was stating that he had leg cramps. After a very short while, perhaps a few minutes or so,
the paramedics left the mat area where Recruit Moses was and I saw that staff were helping Recruit
Moses out of his protective gear and they began stage three, right where Recruit Moses had gone
down.”

      200. “After what seemed like thirty seconds or so,” Defendant Moore also witnessed
“Technician Gentry call[]the paramedics back over” because it appeared “that Recruit Moses was
not moving. He was placed on a gurney and taken off of the mats.”

       201. Defendant Moore then knew that Victor Moses’s freedom of movement was
terminated to the point that he could not even remove his own protective gear or stand up or walk.
He knew he was so disabled they could not even get him to Stage 3, and that they had to bring
Stage 3 to Victor Moses where he knew he “had gone down.”

       202. Defendant Moore knew that Moses was immobilized and incapacitated, thereby
being rendered involuntarily into police custody by the gauntlet of intentional assaults.

        203. Defendant Moore had full and ample opportunity to end this violence but
deliberately chose an alternative option – not to intervene – despite a constitutional duty to prevent



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unreasonable excessive force and unlawful seizure. He also did nothing to secure obviously needed
emergency hospital or other medical care.

                                    Defendant Damon Roman

       204. Technician Damon Roman also watched Victor Moses knocked off the padded mat
where he slammed his head on the tile.

       205. Thereafter, Defendant Roman grabbed Victor Moses “by the bar on his right head
gear” and pulled him up to his feet.

       206. After Plaintiff was forced to stand up, Defendant Roman let go and Mr. Moses fell
down in front of him. He obviously could not then stand up on his own without being physically
held up by others.

        207. After he was briefly pulled back up onto his feet by his head gear, Defendant Roman
instructed Plaintiff “[n]ot to give up.”

        208. Knowing that Victor Moses’s freedom of movement was terminated, that he hit his
head, had been knocked unconscious, and that he lacked any capacity to voluntarily consent to any
further use of force upon him, Defendant Roman continued to exert undue pressure and hands on
force to keep Victor Moses in the fight until he was irretrievably injured.

        209. Defendant Roman had full opportunity to end this violence but deliberately chose
instead to both physically force and mentally coerce Victor Moses to continue to subject himself
to such force. This Defendant thus failed to intervene despite constitutional duties to do so. He
thereby willfully joined in continuing to intentionally restrain Victor Moses from getting
immediately to the hospital for obviously needed emergency medical care.

                                     Defendant E.M. Alfaro

        210. Defendant Technician E.M. Alfaro was “one of the timekeepers during the D.A.D
for the class.” He “ended up being the timekeeper for R/O Moses.” He observed and timed him
going through the drills until he was taken to the hospital.

         211. During Station 2 he saw “R/O Moses did get knocked down, he stumbled and fell
off the edge of the mats, falling to the floor. He landed on his right side, shoulder, and may have
hit his head.”

        212. This Defendant knew Moses had lost consciousness, and continued to be assaulted
thereafter, but consciously omitted it from his reports.

        213. Defendant Alfaro knew Victor Moses could not get up and his freedom of
movement was terminated, nothing that: “[W]e attempted to get him back to his feet, calling him
to get up and assisting.”


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       214. Defendant Alfaro knew that Moses was incapacitated and his freedom of movement
terminated. He also knew that Moses was incapable of providing voluntary consent to continue.
Despite this, he personally was urging, physically assisting, instructing, and pressuring Victor
Moses to get up and continue with the drill despite obvious risks to his life, safety, and well-being.

       215. Despite his and the collective efforts of this group to force Victor Moses to continue
by trying to lift him up physically while verbally urging him to continue, Defendant Alfaro
witnessed that “R/O Moses was not able to get up.”

       216. When the paramedics came over, Defendant Alfaro also heard Victor Moses who
was “obviously winded” “complain of cramps to his legs.” He also no doubt learned, as did the
others hearing this conversation, that Moses had SCT, very low blood pressure despite extreme
exertion, had gone unconscious, and was extremely fatigued.

         217. Defendant Alfaro had full opportunity and constitutional obligation to stop this
excessive force, but chose not to do so or to secure obviously required emergency medical care.
Defendant Alfaro instead joined this Defendant group in trying to force Victor Moses to continue.
After the Defendant paramedics also decided to assist in letting the mandatory exertion and
infliction of force continue, Defendant Alfaro still did not intervene, and instead watched as the
“officers doing the ground fighting, grappling, stage, came over and removed R/O Moses’s chest
protector and helmet. . .”

      218. Defendant Alfaro saw that Plaintiff could not move enough to even take his safety
equipment off on his own.

        219. Defendant Alfaro stood by until he saw that “R/O Moses couldn’t get up to
continue” and the paramedics came over again. Mr. Moses “was placed on the pram and moved
off the mats to where the paramedics were staged, next to the scenario house.”

       220. He saw the paramedics “moving R/O Moses towards the east hanger door, where
the ambulance was staged.” Defendant Technician Moore instructed Defendant Alfaro to “follow
the ambulance to the hospital per policy. . .”

        221. After watching Mr. Moses be assaulted through multiple stages, Defendant Alfaro
also lied to doctors at the hospital about the nature and cause of Mr. Moses’ injures, affecting his
course of care and impacting the severity of his injuries, as set forth above.

                                     Defendant Brian Camozzi

      222. Defendant Brian Camozzi, a former professional Mixed Martial Artist fighter
known as “The Mantis,” was assigned to Station 3.

      223. This Defendant’s excessive force towards Plaintiff Moses finally rendered Moses
completely unresponsive.


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       224. Defendant Camozzi states he was “instructed to use ground maneuvers to control
the Recruit Officers on the ground” and “deliver light open-handed taps to the Recruit Officers
while an instructor acted as dispatch asking for further information regarding the situation.”

       225.    Defendant Camozzi watched Plaintiff Moses in Station 2 before he became directly
involved.

       226. Defendant Camozzi watched as “Academy staff and other Officer helpers there
attempted to help the Recruit Officer to his feet where he stood for a brief moment and then sat
back down.”

       227. Defendant Camozzi saw the group’s failed attempts to lift, jerk and assist Victor
Moses to stand up and thus knew that Victor Moses was so disabled he could not remain standing.
He thus saw Moses unable to arise from his previous assaults and losing consciousness.

       228. This Defendant also knew that Mr. Moses complained of leg cramping and that he
was reporting SCT and no doubt heard that Moses’s blood pressure was very low.

       229. Thus, Defendant Camozzi knew that Moses’ freedom of movement was terminated,
and he did not have the capability to voluntarily consent to further assaults upon himself.

        230. Despite knowing all of this, when Defendant Gentry instructed him to “begin
station 3” with Moses, Defendant Camozzi willingly acquiesced, assaulting Moses while he laid
on the ground. He did nothing to intervene to stop his assaults or secure emergency care despite
his obvious need for it and his constitutional duties.

         231. During this phase Defendant Camozzi delivered what he called “light open hand
taps to the head” of Victor Moses. In other words, he repeatedly hit him in the head, which is after
Moses had fallen onto his head on the concrete in Station 2.

      232. About 30 seconds into Station 3, while Defendant Camozzi was laying on top of
him, Moses again lost consciousness, was unable to be revived and was taken to the hospital.

        233. Despite knowing that Mr. Moses became unarousable during Station 3, in an
attempt to cover up his role, Defendant Camozzi falsely stated in his report that Moses completed
station 3 while still conscious, writing “[a]t the conclusion of station 3 I stood up and the Recruit
Officer lay on the ground for another moment still fully conscious.”

      234.     In fact, he was totally unconscious and had collapsed under his weight long before
completion.

        235. Defendant Camozzi has outrageously further stated that the Academy staff and
officers, including himself, “attempted to get the Recruit Officer up to prepare him for the last
station however the Recruit Officer refused to stand.”


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       236.    Victor Moses did not refuse to stand. He could not move. He could not stand.

     The Unconstitutional and Willful and Wanton Conduct of Paramedic Defendants
                           Courtney Wham and Taegin Sung

      237. Defendant Paramedics Courtney Wham and Taegin Sung were willful
governmental participants in this joint activity and were acting under color of state law.

       238. In clearing Mr. Moses to continue, Defendant Paramedics knew that he was so
incapacitated by these assaults that he was in police custody and also then an obvious emergency
medical patient in their care.

        239. Nonetheless, these Paramedic Defendants impermissibly agreed to aid and facilitate
this obviously unreasonable excessive unconstitutional beating of Victor Moses who they treated
not as their very badly injured patient in need of immediate emergency medical care in a hospital,
as he had obviously become, but as someone they were there to keep fighting.

       240. Defendants Wham and Sung, not merely negligently, but recklessly, actively and
egregiously participated with the shared goal with each other and with the law enforcement
defendants of making Moses complete all four stages – no matter what.

       241.    In doing so, they actually knew:

       •   that he had SCT;
       •   that he was then experiencing an altered mental state and had been beaten into repeated
           bouts of unconsciousness;
       •   that he had extreme fatigue;
       •   that he was experiencing extreme leg cramping which the paramedics knew was
           associated with SCT;
       •   that he had a far too abnormally low blood pressure after such extreme exertional
           activity with only very brief rest periods which the paramedics knew was associated
           with a sickling event;
       •   that he had hit his head hard off mat on the tile;
       •   that he had fallen repeatedly both after being hit and just on his own;
       •   that he was then incapacitated and defenseless;
       •   that he did not have the capacity to take off his own safety equipment, to get up or stand
           up, stay standing, even when being held up by defendant officers; he could not
           ambulate himself voluntarily to the place on the mats where Stage 3 was to occur; and
       •   that he could not then make rational decisions or give meaningful voluntary consent
           about his health.

      242. Despite knowing all these things, the Paramedic Defendants, as willful
governmental participants in this joint activity with the officer Defendants, decided and/or agreed



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to return Victor Moses immediately into the drill for his further physical battering and arduous and
exhausting physical and mental stress.

       243. They did this by actively facilitating and enabling the continued infliction of
shocking force.

        244. At all times relevant to Mr. Moses, Defendants Wham and Sung were jointly acting
to assist the police Defendants in attaining their goal of getting Moses to complete Fight Day,
rather than caring for him as a patient and providing necessary medical/paramedic emergency care
and instructing the police to cease inflicting physical trauma on him under his severely
compromised and vulnerable circumstances.

       245. These Defendant paramedics already knew from watching 39 or so recruits go
through it before Victor Moses that “Fight Day” is a brutal, exhausting set of physical endurance
combat drills intentionally constructed to challenge the officer applicant’s ability to withstand
overwhelming physical force inflicted by veteran officers who volunteered to inflict such violent
force.

        246. Defendant paramedics should have been there to protect from and treat injuries
pursuant to their patient paramedic duties, but instead were acting as police agents or adjuncts in
their role during Victor Moses’s Fight Day. They were there, not to provide him with patient care,
but to keep him propped up to get through the fight, regardless of the injuries sustained.

        247. In refusing to intervene to protect Moses’s health and welfare, and actually deciding
and agreeing not to end his Fight Day, these Defendants were not merely negligent, but reckless
and willful and wanton in ignoring the obvious risks to his health and safety of which they were
actually aware.

        248. They did this knowing they were thereby assisting his being kept intentionally
restrained to endure more excessive force when circumstances dictated that he needed emergent
medical care at a hospital.

        249. These Defendants completely abdicated their constitutional, statutory, and ethical
patient care duties to end this debacle while there was time to save Mr. Moses from this terrible
outcome.

        250. They did not just passively watch these events unfold. They actively helped to
ensure that it continued.

        251. These paramedics as government actors acted in conscious solidarity with police to
effectuate and continue the hazing of Victor Moses without regard to the then well-known and
highly foreseeable ruinous consequences for Moses’s life and health.

       252. In so acting and in refusing to intervene to stop this destruction of Victor Moses
these two Defendant paramedics knew that Victor Moses had been knocked unconscious before


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they first came to him on the mats as he laid on the ground after his earlier beatings which they
also both saw.

        253. Allowing physical assaults to continue given what they knew was egregiously
shocking, willful and wanton and done with complete disregard to the then known to them serious
likelihood of additional severe bodily harm or death to Victor Moses.

        254. These paramedic Defendants were not at Fight Day to end or treat excessive force
or to minimize injuries. They were there rather in Victor Moses’s case to facilitate it and permit it
to continue.

       255. The many watching police recruits were horrified by what they had just witnessed,
and some specifically also identified these Defendant Denver Health paramedics as equally
culpable for abandoning Mr. Moses in his medical crisis.

         256. These Denver Health paramedics/EMTs had an obligation to supervise the drill
with an acute and sole focus on his health and medical needs during an obviously arduous series
of drills.

       257. These two Paramedic Defendants thus gave their entirely non-medical and
pretextual willful and wanton approval to allowing Victor Moses to continue being subjected to
unconstitutional intentionally inflicted excessive force.

        258. They and all other individual Defendants also failed to intervene to end such
unreasonable excessive force and seizure and to obtain obviously needed hospitalization as Article
II Sections 7, 25 and 3 of the Colorado Constitution and as the 4th and 14th Amendments mandated
in these custodial/care circumstances, despite opportunity to do so.

       259. These Paramedic Defendants also participated in misleading the doctors at the
hospital as aforealleged.

       260. This conduct was willful and wanton within the meaning of 24-10-118, C.R.S.
because they were consciously aware that their acts or omissions were likely creating preventable
harm, danger and risk to the health, wellbeing, life and safety of Victor Moses and nevertheless
both acted without regard to these then known risks of harm health, wellbeing and life.

      Fight Day is the Result of a Policy Choice and Culture of Violence, Hazing, and
              Training That Causes Unnecessary Injuries Among Recruits

        261. Fight Day had long been sanctioned by the Denver Police Department and its entire
management staff, including specifically Police Chief Ron Thomas, and is an official program of
the City of Denver’s Public Safety training regimen.




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        262. Fight Day is an ingrained, customary official program used by Denver with the
assistance of Denver Health to train prospective officers and to inculcate them in the use of
excessive force.

       263. Denver’s policy or custom, which was the moving force behind the constitutional
deprivations described herein, is demonstrated by the existence of at least the following:

         (1) The formal regulations and policy statements regarding the Fight Day training regimen
             and the Dynamic Action Drill, a mandatory process required for graduation from the
             Academy;

         (2) An informal custom amounting to a widespread practice that, even if not authorized by
             express municipal policy, has been so permanent and well settled as to constitute a
             custom or usage with the force of law, including the administration of the “hazing”
             component of the training intended to inflict an unnecessarily violent and dangerous
             rite of passage on new recruits causing many injuries as a condition of gaining
             membership into the fraternity of officers who themselves were previously required to
             undergo Fight Day and related drills, beyond the legitimate needs of training necessary
             to become an effective law enforcement officer;

         (3) The decisions of employees with final policymaking authority or employees that have
             been delegated such authority, including Police Chief Ron Thomas, regarding the
             required training regimen that recruits are subjected to as a mandatory condition of
             becoming a Denver Police Officer;

         (4) The ratification of such final policymakers, including Chief of Police Ron Thomas, the
             manager of the Department of Public Safety, and the members of the police Command
             Staff to whom training authority has been delegated, of the decisions – and the basis
             for them – of subordinates to whom authority was delegated subject to the
             policymakers’ review and approval; and

         (5) The failure to adequately train or supervise employees who are conducting the training
             of the recruits as to the limitations imposed upon them on inflicting force or assuring
             that they intervene to ensure adequate medical care and treatment during the
             foreseeably violent and dangerous training known as Fight Day.5

       264. Denver has for many years fostered and tolerated a “culture” at the Academy which
includes hazing and intense physical and emotional repercussions for failure to adequately
complete the Fight Day endurance tests.

       265. Over the years, many recruits have been injured and had to be medically treated or
even hospitalized during Fight Day, including several on the same day Victor Moses had his life
so profoundly damaged.

5
    Bryson v. Oklahoma City, 627 F.3d 784, 788 (10th Cir. 2010).

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       266. In 2014, for example, Denver Police Recruit Kimberly Lockinour experienced
hazing and the infliction of unnecessary and excessive force against her during her efforts to
become a Denver Police Officer.

      267. Lockinour was a decorated police officer in Carbondale, Illinois who decided to
move to Denver to become a police officer. Given her experience and resume, Denver hired Ms.
Lockinour as an Officer Recruit and enrolled her in its Spring 2014 Police Academy class.

      268. Lockinour experienced abuse and, according to her, “100% hazing” during the
Dynamic Action Drill Fight Day drills. She reported that she was intentionally injured by one of
the DPD instructors during the Fight Day drills.

       269. Among the abusive, violent, and excessively forceful actions taken against her
during Fight Day, Ms. Lockinour was slapped and put into a dangerous chokehold, requiring
medical care.

        270. Another female recruit in the same class told internal investigators that she too was
put in a neck hold, and that the same thing happened to several of the other recruits. Another recruit
reported during the Internal Affairs investigation into the Lockinour complaint that some of the
recruits lost consciousness during the Fight Day drills, describing them as “[k]ind of like knocked
out/choked out.”

        271. A Denver Internal Affairs report revealed that a trainer threatened to “slap the
‘s*@#’ out of her,” and actually did slap her one time with an open hand. The male trainer also
admitted to using a “carotid control hold” on Lockinour, not to show her how the hold works, but
rather to “make the recruit aware they need to become more aggressive.”

       272. Lockinour described the abusive treatment as an effort of the instructor to see if she
was tough enough and would keep her mouth shut even if she thought he had crossed the line. She
described this as “the Denver way as they say in the academy. The Denver way.”

        273. Lockinour attributed the purpose of the training as less concerned about preparing
recruits for duty and more interested in testing their willingness to keep the Blue Code of Silence.
Officer Lockinour observed in an on-camera interview with FOX31 Denver that the Fight Day-
type training “breeds aggressive police officers. I think it teaches people to fight first and talk later
and that doesn’t work.”

        274. Records show that when Lockinour did not complete the Dynamic Action Drill
training day, she was deemed to have resigned, and DPD records say that she “quit.”

       275. FOX31 television in Denver confirmed that there is video and audio tape of
Lockinour’s treatment during the drills that led to her complaint, but DPD refused to release such
evidence to the station, using as an excuse in its denial that “[r]evealing details of tactical training
could impact officer safety and in turn, public safety.”


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        276. Lockinour, a Black woman, filed a charge of discrimination and retaliation, alleging
that she was targeted because of her race, sex, and/or color and in retaliation for her speaking out
against her treatment during her prior training at the Denver Police Academy.

        277. Pursuant to this customary and pervasive culture, Individual Defendants
collectively forced and pressured an incapacitated Moses to continue to fight, preventing his
emergency hospitalization until it was too late.

        278. Defendants did so to force and pressure his completion of Fight Day in the
prescribed manner as is the custom, practice and policy of Defendant Denver as a condition of
being hired as a Police Officer.

         279. Fight Day hazing is designed to include excessive force assaults against recruits.
This hazing tradition, policy and custom of assaulting recruits is a mandatory Denver rite of
initiation and passage.

       280. The unnecessary and excessive violence inflicted by Denver and its trainers upon
Recruit Officers trained during Fight Day has also long been unconstitutionally used by DPD and
Defendant Denver to train, inculcate and imbue recruits with the personal understanding that
excessive force by them is officially tolerated, and indeed culturally expected, as a job requirement.

        281. This trained willingness to inflict violence on citizens has contributed to Denver’s
sullied reputation nationally and in Colorado, while costing Denver taxpayers many millions of
dollars in settlements and judgments arising out of police brutality, excessive force, and other law
enforcement misconduct. Through Fight Day, each recruit is conditioned to intentionally assault
and even continue hurting people past the point of unconsciousness, as shown in this case, and
they are taught that such force is approved and authorized by police supervisors and command
staff, not restricted and discouraged.6

        282. Defendant Denver Police had actual or constructive notice that their actions or
failures to act as described more fully herein were substantially certain to result in a constitutional
violation against Plaintiff Moses, but they consciously or deliberately chose to disregard the risks
of harm. Barney v. Pulsipher, 143 F.3d 1299, 1307 (10th Cir. 1998).



6
  What happened here can perhaps be explained as an extreme example of Groupthink, a
psychological phenomenon that occurs within a group of people in which the desire for harmony
or conformity in the group results in an irrational or dysfunctional decision-making outcome.
Significant initial research about Groupthink was done by Irving Janis, a Yale Research
psychologist, and followed up and corroborated by many researchers and professionals in the area
of behavioral psychology. Here, Groupthink contributed to all the Defendants ignoring life and
death symptoms in pursuit of their common goal of getting Victor Moses to complete Fight Day,
no matter what the cost.


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        283. Denver’s training of its officer recruits, as exemplified by the implementation and
administration of the Fight Day drills, was deliberately indifferent to the federally and Colorado
protected constitutional rights of those officer recruits. This is so despite Denver’s express written
DAD descriptions that the recruits are there to be trained and tested by all involved in proper arrest
and seizure techniques, including de-escalation of force and rendering aid to those injured in such
situations.

       284. The constitutional violations alleged herein were the inevitable consequence of
Defendant Denver’s policy or training. The violation of federal and state constitutional rights,
including the rights of Plaintiff Moses, was a ‘highly predictable’ or ‘plainly obvious’ consequence
of Denver’s inadequate and customary training regarding the Fight Day drills.

        285. Based on the City’s long implemented training program, which mandated enduring
Fight Day, its policymakers knew “to a moral certainty” that Denver would inflict unnecessary
and unreasonable excessive force upon its recruits, including Moses, incurring unwarranted risks
of serious bodily injury or death on the recruits.

         286. In this regard, DAD instructions expressly mandate that: “[r]ole players and
assistants will immediately stop a drill if they have reason to believe a participant’s health or safety
is in jeopardy.”

        287. The Academy training staff, however, are inadequately trained to follow such
constitutional principles governing excessive force and to respond by immediately rendering aid
in medical emergencies, which foreseeably result from the Fight Day drills.

        288. The Academy training staff are inadequately trained on how to properly
accommodate and handle recruits with SCT in conformity with national military and police
training protocols.

        289. Denver Police’s custom and practice of obtaining critically important medical
information from its Recruit Officer applicants and then ignoring such information, failing to share
it with officers or paramedics, demonstrates deliberate indifference to the constitutional rights of
such applicants.

        290. Denver Police are also deliberately indifferent in failing to train supervisors,
trainers, assistants and role-playing officers during Fight Day drills to accommodate for such
known risks to recruits in the training and supervision of the officers working Fight Day with such
recruits.

        291. The need to train officers and medical staff differently to provide care during
Fight Day regimen was so obvious’ that failure to do so by both governmental entity Defendants
is properly characterized as deliberate indifference.




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        292. The training decisions complained of herein “reflect” the Denver Police’s final
delegated policy makers’ deliberate indifference to the ‘highly predictable consequence,’ namely,
violations of constitutional rights.

        293. The Police Officer Standards and Training investigation and findings demonstrated
that Plaintiff Moses’s injuries were incurred pursuant to the official customs, policies, practice and
training of the Denver Police Academy.

       294. A POST-compliance investigation was performed after the events of January 6,
2023, concluding as follows:

       After the investigation, it was determined by POST Staff and the Subject Matter
       Experts who attended that the Denver Police Academy followed all standard safety
       protocols. There appeared to be no evidence of wrongdoing on behalf of the Denver
       Police Academy.

       295. The violence inflicted on recruits during Defendant Denver’s Fight Day is
unreasonable and unnecessary for legitimate law enforcement training.

       296. In fact, since these events, Station 2 has reportedly been abolished by DPD or
substantially modified to make it less violent, reckless, and dangerous to the Recruit Officers.

      297. This conduct demonstrates deliberate indifference to the foreseeable injuries that
Denver knew could likely result from its unconstitutional policies, customs and training.

 Denver Police Did Not Act Alone – Denver Health was also Deliberately Indifferent in its
                            Policies, Customs and Training

        298. Denver Health and Hospital Authority as part of the operations of a public hospital
has long supplied such paramedics to cover and augment the law enforcement training staff
administering Fight Day. This has gone on for many years. This Defendant’s complained of policy,
custom and training was also the moving force behind the constitutional deprivations described
herein.

        299. Denver Health and Hospital Authority is also deliberately indifferent in the training
of paramedic staff to respond to medical emergencies which will foreseeably result from Fight
Day drills. It does this by allowing and enabling paramedics to focus primarily on helping recruits
complete Fight Day drills even where medically contraindicated, unwise or dangerous, rather than
properly focusing solely as paramedics on the medical health, welfare and well-being of the recruit
that is undergoing physically exhausting trauma – and to do so without regard to the job
consequences for such recruits who are medically unable to continue.

       300. The need to train medical professionals assigned to Fight Day to provide adequate
care was so obvious that failure to do so by both governmental entity Defendants is properly
characterized as deliberate indifference.


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        301. In fact, the practice of using paramedics to diagnose and “clear” injured recruits to
continue fighting is recklessly outside their scope of practice. Paramedics are inherently
unqualified by their medical licensure to rule out causes for serious symptoms such as loss of
consciousness and Denver Health has a practice of requiring paramedics assigned to Fight Day to
practice medicine outside of their scope.

        302. Denver Health and Hospital Authority has had a longstanding policy or practice
and custom of allowing, training and instructing its paramedics to be posted during Fight Day on
location, and to tolerate significant police recruit injuries while acting not as independent
paramedic professionals but rather as police adjuncts and agents with severely compromised duties
of due care in the service of non-medical DPD goals of facilitating police recruits like Victor Moses
completing fight day regardless of the severe known high risk medical consequences to that recruit.

        303. DHHA also has a longstanding policy, practice or custom of not even requiring
attending paramedics to be aware of special disclosed medical circumstances pertaining to each
police recruit that are known to DHHA from its administration of the medical clearance
assessments of every such recruit, including regarding Plaintiff Moses who disclosed he had SCT
to DHHA agents and employees which as part of this derelict policy was not shared with these
assigned paramedics.

       304. Denver Paramedics are deliberately indifferently and inadequately trained on how
to properly accommodate and handle recruits with SCT in strenuous training exercises.

        305. Denver Health custom and practice of obtaining critically important medical
information from Denver Recruit Officer applicants and then ignoring such information, failing to
share it with officers or paramedics, demonstrates deliberate indifference to the constitutional
rights of such patients.

       306. It is approved policy and established practice of DHHA to supply paramedics to
cover and assist the Denver Police Department with the Academy’s Fight Day. Such attendance
and participation and its personnel is intended to support the Denver Police Department’s training
regimen for new recruits, thus serving a law enforcement function.

        307. These training decisions “reflect[s] DHHA’s final delegated policy makers’
deliberate indifference to the ‘highly predictable consequence,’ namely, violations of
constitutional rights.”

      308. This conduct demonstrates deliberate indifference to the foreseeable injuries that
Denver Health knew could likely result from its unconstitutional policies, customs and training.

                          Victor Moses’ Injuries, Damages and Losses

       309.    Victor Moses was an active, healthy, happy, vibrant young man prior to Fight Day.



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      310.   He graduated from Florida State University:




      311.   He had an active social life:




      312.   He enjoyed spending time outdoors, exercising, and in nature:




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        313. These photographs show snapshots of the full life Victor Moses has lost, resulting
in severe physical injuries and disabilities, extreme grief, post-traumatic stress, depression, and
suicidal ideation.

    Plaintiff Experienced Elongated and Extraordinary Pain and Suffering at the Hospital

      314. The UC Health Sciences Hospital provides this discharge summary of Victor
Moses’s several months stay:

       28 yo M w/ sickle cell trait who presented to the ED after collapsing during
       strenuous combat training at Denver PD likely 2/2 ECAST and was found to have
       rhabdomyolysis c/b compartment syndrome of bilateral upper and lower
       extremities, acute renal failure with severe hyperkalemia and AGMA requiring
       CRRT [Dialysis]. While admitted, patient has had BLE [Bilateral Lower Extremity]
       fasciotomies and subsequently found to have developed MDR [Multi Drug
       Resistant] Enterobacter infection in BLE [Bilateral Lower Extremity] and RUE
       [Right Upper Extremity] requiring BLE [Bilateral Lower Extremity] BKA [Below
       Knee Amputation] and BUE [Bilateral Upper Extremity] surgical interventions.
       Patient transferred to Medicine from SICU for pain and antibiotic management with



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       c/f persistent MDR enterobacter [Multi Drug Resistant] infection in the RLE [Right
       Lower Extremity].

        315. Victor Moses underwent numerous surgical procedures at the hospital during this
4-month period. These included multiple grim fasciotomies in an attempt to save his legs by
releasing the four compartments of the lower legs.

       316. While in the hospital, Mr. Moses had amputations of both legs just below the knee
and had innumerable painful surgeries and procedures to try to save his life, organs, and limbs.

        317. Victor Moses frequently experiences flashbacks and nightmares enduring these
numerous procedures, surgeries and recoveries. He remembers every time coming back to his room
after each of them only to endure the post-surgical or wound care treatment pain and suffering.

       318. The following paragraphs provide a partial description of Victor Moses’
extraordinary pain and suffering and the sheer horror of his experience in the hospital in his own
words:

       I would say the worst pain by far would be the wound care. The wounds shown in
       the graphic photos from my fasciotomies would have to be constantly changed.
       That was by far the worst. The physical pain was one thing but the mental pain was
       indescribable.

       I’d also have to look at my limbs that had then given me an amazing 28 years of
       life completely mutilated -- from the exposure of my bone in my right arm, to my
       dead thumb and darkened fingers.

       I had to look at my body rotting on a hospital bed -- for months. I also had to endure
       my caregivers doing excruciatingly painful wound care on my legs (at the time I
       still had them), my arms, and my torso. I had to hope, in vain, for weeks that they
       would at least be able to save my rotting right leg only to come out of a surgery for
       another body part and told they were going to have to amputate it as well.

       I had to look at my bare bone on my arm for weeks before they gave me a skin graft
       from my thigh.

       The pain I endured at the hospital was consistently excruciating. I couldn’t do
       anything. I couldn’t get up and walk away because I was completely bed ridden.

                              FASCIOTOMIES — GRAPHIC PHOTOS

        319. To try to save his limbs, Mr. Moses underwent many extremely painful
fasciotomies in an effort to restore circulation to areas that were dying. The fascia under the
muscles are cut to reduce pressure.



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        320. He had many open places on his body where he could see his own bones and the
insides of his body, which was extremely mentally, emotionally, and psychologically distressing.
Ultimately the leg fasciotomies were unsuccessful and he had to lose much of his legs anyway.

        321. WARNING: The following fasciotomy and other photos are graphic and show
Plaintiff’s exposed bones, muscles and tissue in his arms and legs from his fasciotomies,
which preceded his amputations. Mr. Moses saw these and had to suffer through them every
day for months, with extensive permanent scarring:




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       322. In the following paragraphs Victor Moses in part describes his experience of the
progression from fasciotomies and limb wound care, to his bilateral Below the Knee (BKA)
amputations:

       My parents did everything to make sure I didn’t see my feet before they were
       amputated and I thank them for that. The wound care changes were painful even

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      with the meds. The doctors ordered me to get extra medication (Oxycontin
      and Dilaudid) but they barely helped. I remember telling hospital staff
      optimistically that I would be out soon, over and over.

      Before my left leg got amputated I was telling them that I would be out that week,
      even that very day depending on the drugs I was on and nurse I was around.

      But that day kept turning into another day, turning into another week, turning into
      an amputation, turning into another day, weeks, and months and then into another
      leg amputation a few weeks later. The fasciotomies I had endured did not save
      them.

      Out of everything I have experienced, getting my legs cut off was one of the worst
      things. I never thought the human body could go through what I went through and
      yet, after enduring all the rotting, both my legs were cut off.

      I will never forget when they cut off my left leg in late January.

      I remember briefly making peace because this one leg amputee told me it would
      get easier and that there were other one legged amputees and one even bilateral that
      would go on hikes, breweries, etc. My situation sucked but at least I had one leg
      and he told me the many stories of triumph he’s endured because of it.

      But then, after all the earlier surgeries and wound care, I will also never forget being
      wheeled back in my hospital bed one day in March and seeing one of my surgeons
      waiting for me in the room. This was unusual. He cut to the chase and told me:
      “There is nothing we can do to save your right leg.” And then I had surgery to
      remove my right leg as well just below the knee.

      There is another kind of pain that came with the amputations. Doctors call it
      phantom pain. Phantom pain is tough to describe unless you experience it. After
      they amputated me it would feel like I was never amputated. My nonexistent toes
      would be on fire but I couldn’t do anything because they weren’t there. I still have
      to deal with this phantom pain daily.

      One of the most strange and painful additional procedures I had to endure and
      recover from was when to save my hand, the surgeons cut my stomach open after
      mid-March and attached my arm and stuck my thumb inside my stomach for tissue
      growth. They said it was a popular procedure during World War 1.

      I had to have my arm attached for three weeks to my stomach and couldn’t move
      it. Outside of the pain I couldn’t do anything if I wanted to stretch and the
      medication didn’t help. The wound care for that procedure was also excruciating.
      When I went for surgery to get it removed, they had to wait another week or so
      because of something went wrong while my arm was surgically attached.


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       323.   Dialysis was also extremely painful:

       I never really fully understood dialysis until I went to UCHealth and it was also
       another one of the worst things that anyone can endure.

       My kidneys are damaged and I was on TWO dialysis machines. I understand I was
       one of the first, or maybe the first patient they have ever done that to. I was the
       most scared in my life because I didn’t want to be on dialysis. I still live with the
       very strong fear that my kidneys will take a turn for the worse.

       I had tubes that lived in my neck for a few months and were painful among every
       other severe pain I was then daily experiencing. Someone would wheel in this huge
       machine and spend 5-10 minutes at least connecting and disconnecting you.

       They then would leave the room and monitor you thru a window while this beyond
       loud machine would transfer blood in and out that was extremely cold. If you
       moved your neck even the slightest alarms would sound and that person would have
       to come back and adjust positioning.

       I had almost every tube connected to me you could think of. The biggest thing I
       remember was later down the road was when they had to change or add the feeding
       tube they put down my nose. I was begging them to put me to sleep even because
       of the pain but it was supposed to be quick so they couldn’t. One of the nurses
       messed up so they had to take it out and get someone else to do it. The position of
       the tube would make me throw up consistently whenever I tried to eat because it
       would always be scratching something. The hospital said that they couldn’t take it
       out because I needed to get my daily calories.

       I couldn’t even talk to anyone because the tube would painfully scratch some part
       of my insides and almost make me throw up again. I had to position my head in one
       place and stay in that position because if I shifted my head it would be an immediate
       issue with pain.

       324. During his hospitalization, Victor Moses lived with constant pain requiring pain
medications even apart from the painful procedures. He has also written about this aspect of his
experience:

       Even with all the powerful drugs I was always in pain for months. And if a nurse
       was late to give me my scheduled pain medication it was a nightmare.

       I never could sleep at the hospital. Imagine being on your back for four months and
       you’re awake for most of it. I never slept more than two hours without being
       disturbed from a hospital staff member or agonizing from the pain.



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       I had some of the most pain powerful drugs (including Fentanyl) inside me during
       my four month stay but I was still always in pain. It was physical pain from hell but
       saying this does not include the agonizing mental and emotional pain I endured as
       well. It’s tough to say but the only time I was at peace was when I was dreaming.
       Even if it was a nightmare, it was a nightmare without pain.

       325. Beyond enduring the Fasciotomies, amputations, and other surgeries, as well as the
constant physical pain, his emotional pain and distress and degradation at the hospital was
overwhelming.

       326.   Victor Moses describes the depression and embarrassment he suffered at the
hospital:

       I don’t think anyone can fully understand the level of embarrassment and
       humiliation that made me want to die that I experienced.

       I was on one of the highest floors in the hospital and had a view of the Denver
       skyline. I could literally see in the distance my building, my home. I could see the
       city lights knowing people were out having fun with friends and family for four
       months.

       For months, I had to have random caregivers wipe my bottom and prepare me to
       “use the bathroom”. I’ve had at numerous different people do this for me. They’d
       have to turn me over to put a bed pan under me and ask if I wanted them to wait or
       leave. This was the most humiliating thing I’ve ever experienced. I had male,
       female, young, old caregivers do this for me.

       Because I was also on dialysis I couldn’t urinate for weeks. I had to have nurses
       and CNAs help me pee. This included sticking some rod down my penis shaft to
       help. When I finally peed it felt like someone won the Superbowl. Tears, joy, crying
       for brown pee… This was my life.

       Before going to the hospital, my last real shower was when I woke up around 5 a.m
       on January 6th, 2023. At the hospital, I had to be wiped down with a cloth and soap
       but I couldn’t ever get a full bath for months I was bedbound.

        327. Here are some pictures taken not long after Plaintiff Moses finally got out of the
hospital and was in his own apartment. These pictures partially depict Victor Moses’ current
injury status and BKA bilateral amputations:




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            Right Arm Post-Surgery           Right Arm and Right Leg post-surgery




                                 Upper Legs Post-Surgery




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       328. Plaintiff Moses has undergone a great deal of rehabilitation therapy. He now must
use prosthetics, which have had to be refitted and redone multiple times -- they are still not right
because of the difficulties of fitting the stumps.

       329. Plaintiff Moses is still learning to use prosthetics, to stand up from the ground and
negotiate curbs but not steps. He uses two canes to walk every step because without them he cannot
maintain balance.

        330. He still also regularly experiences bleeding from his stumps after using and taking
off his prosthetics, often having cups of blood and bodily fluids come out of them, which puts him
in regular fear of infections and further amputations:




        331. The use of these prosthetics has caused Moses substantial pain, further physical
injury, and emotional distress related to his understandable fear that his injuries will not heal
properly.

                    Plaintiff’s Ongoing Pain, Suffering, and Loss of Enjoyment of Life

           332.   In the following paragraphs, Mr. Moses describes his profound loss of enjoyment
of life.

           It is extremely hard to find the will to keep living. Saying my life has been ruined
           is a complete understatement. I had everything going for me in life and it was all
           taken away. I have had many thoughts of not wanting to live.

           I still have to have a random person I’ve never met help me get undressed to shower
           and use the toilet.

           I used to meet with friends every weekend and during the week and now my social
           life is almost non-existent.


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       I’ll never get to have the feeling of sand going between my toes or the feeling of
       the ocean waves splashing against my feet. I can’t even tie my shoes to put on my
       fake plastic feet.

       What I’ve seen my parents go through because of this is almost as painful as the
       injury itself. My family has been broken from this. My family friends tell me
       they’ve noticed changes in my parents watching their youngest child go through
       this. As the youngest, I always hoped and was on the path to be successful and retire
       my parents and help take care of them. Instead, they are pushing me, at the age of
       29, onto the toilet and into the shower.

       333.    Victor Moses still has excruciating persistent pain:

       I have been in pain every day since I remember waking up from my coma towards
       the beginning of January. I wake up in pain, I go throughout my day in pain, and I
       go to sleep in pain.

       I have not been one to take painkillers before this such as Advil or Tylenol and
       never any other medication outside of antibiotics if I was sick. Now I’m taking
       Oxycodone daily, Venlafaxine, sleeping medication, nerve pain and a lot of other
       medication when I was in the hospital such as fentanyl and ketamine (which made
       me go unconscious and crazy when they injected me with it).

       I never have been hospitalized or even broken a bone in my 29 years of life and am
       now on my 20th surgery in well less than a year and a half and still face more.

       Since January 6, I have rarely had the chance to get privacy. From nurses coming
       in the room at any time of day or night at the hospital, to CNAs coming now in my
       home all day long. This is not because I want the help but because I need the help.

       My right arm still doesn’t work and my left arm is barely functional.7

       There are so many things in my normal life that I considered at the time that I would
       do anything to experience again.

       I slowly find myself becoming a Victor I’ve never met. I’m starting to isolate from
       my friends and family, gain too much weight, not be able to sleep, etc. I’m reminded
       of what happened to me every day I look in the mirror.

       My future is uncertain. I have to check the ends of my stumps for signs of infection,
       because they can always get cut higher. I’m always reminded this by my doctor and

7
 On June 24, 2024, Plaintiff underwent an almost eight (8) hour surgery in an effort to try to create
some gripping and improve function in his right hand, borrowing tissue from his thigh.

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       therapists. I can’t begin to tell you the paranoia I have on a weekly basis if one or
       both my stumps have an infection because of the thought of losing one of my knees.

       I haven’t been able to travel back home due to the numerous issues of going through
       the airport or being on a plane. I haven’t been able to attend weddings, birthdays,
       or vacations with friends and family.

       I’m unable to do basic house and life chores that I’ve always done on my own, such
       as the dishes, vacuuming, sweeping, mopping, laundry, making my bed, grocery
       shopping etc. It’s a struggle to even change my prosthetics let alone put them on
       because I only have one functional pair.

       334.    Here is a list of other things Mr. Moses can no longer do that were important to
him:

       He can’t run
       He can’t cook
       He can’t work
       He can’t drive easily
       He can’t date
       He can’t write legibly
       He can’t assemble things
       He can’t swim, jet ski, paddle board, kayak, hunt or fish
       He can’t use a knife to cut food
       He can’t get packages or check the mail
       He can’t take stairs
       He can’t fight or take flight to defend himself
       He can’t be independent
       He can’t start a family at this point

      335. Mr. Moses has also suffered significant distress at the way he has been maligned
by Denver police from the time of his first amputation, while laying in the hospital:

       One of my friends who came to visit often said that an article was written about me
       in which the Academy was victim blaming me as having a pre-existing condition
       which my trainers falsely stated that I did not disclose although I did very clearly
       write about having SCT on my application. This press was around the middle of
       February, weeks after they cut off my left leg. This created an extremely painful
       feeling in me.

         336. Victor Moses has suffered extraordinary damages entitling him to recover
compensatory, consequential, and special damages for his past and future loss of his pleasure of
living, including his enjoyment of the many activities of his life and his expectations for his life’s
future prospects, and for all his past, present and continuing pain and suffering for his lifetime, all
in amounts to be proven at trial.

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        337. Had the infliction of this unreasonable excessive force been stopped when Moses
first began collapsing and losing consciousness or shortly thereafter, and had he been emergently
treated and hospitalized, it is medically probable that he would not have suffered the devastating
losses of limbs and other injuries described herein.

        338. Victor Moses is entitled to compensation for the severe emotional distress,
embarrassment, disfigurement, scarring functional impairments, limitations and accompanying
humiliation that has been permanently caused, and the damage to his pleasure of his life and many
loving relationships for the period of his expected normal mortality table life span.

        339. More particularly, Victor Moses’s loss of consortium damages also encompass
damages to his many relationships with his family and their enjoyment, and the same losses and
damages with numerous other persons in his life with whom he also had intrinsically significant
relational interests.

                            Plaintiff’s Economic Damages and Losses

        340. Victor Moses’s resulting extensive permanent damages and losses also includes
past and ongoing loss of earning capacity, lost past and future earnings, and other economic and
special damages.

        341. With respect to his permanent wage and earnings losses, Mr. Moses’s Workers
Compensation benefits do not even remotely approach a fair valuation of the same and, in fact,
even his WC Average Weekly Wage benefits have been arbitrarily, capriciously and unfairly
limited by Defendant Denver to unreasonably save itself money. Victor Moses was a very hard
worker. He has been robbed of his career, his career prospects, and career choices.

       342. Victor Moses’s damages, injuries and losses also include his extensive past and
future medical and rehabilitative care charges, and the costs of his permanent care across the
spectrum of his disabilities, impairments, and dysfunctions caused by Defendants.

        343. Victor Moses’s damages, injuries and losses additionally include both recovery for
any lien/subrogation claim(s), and his right to fully recover for all of his billing charges for all of
his past and ongoing hospital, medical, psychological and rehabilitative care, treatment and
services. Such care is likely to continue for his lifetime. In this regard, the charges and bills for
all such care, treatment and services are still being ascertained, and will be proven at trial.

       344.    The full extent of Plaintiffs injuries damages and losses are not known at this time.

        345. Victor Moses is also entitled to punitive damages against Individual Defendants on
his state and federal civil rights claims, because Defendants acted maliciously, willfully and with
a reckless and wanton disregard of the constitutional rights of Plaintiff.




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       346. Plaintiff is entitled to attorneys’ fees and costs pursuant to 13-21-131, C.R.S and to
42 U.S.C.§1988, pre-judgment interest and costs as allowable by state and federal law.

                                V. CLAIMS FOR RELIEF

                              FIRST CLAIM FOR RELIEF
         Excessive Force and Seizure – Colorado Constitution, Article II, Section 7,
                               Colo. Rev. Stat. § 13-31-131
                          (Against Individual Police Defendants)

        347. Plaintiff hereby incorporates all other paragraphs of this Complaint as if they were
fully set forth again here.

       348. Plaintiff Moses brings this action against Defendants Todd Gentry, Stephen
Marino, Anthony Norman, Felipe Cervantes, Kyle Carter, Johanna Aitken, Lisa Aitken-Nelson,
Jason Moore, Damon Roman, E. M. Alfaro and Brian Camozzi, each in their individual capacities.

       349. At all times relevant hereto, all Defendants to this claim were acting under the color
of law in their capacities as police officers or technicians working for the City and County of
Denver and the Denver Police Department. Each was a peace officer as peace officer is defined by
Colo. Rev. Stat. § 24-31-901(3).

       350. During Station 2 and Station 3 Victor Moses was thus subjected to excessive force
and “seized” in violation of Article II, Section 7 of the Colorado Constitution.

        351. Colo. Rev. Stat. §13-21-131 (1)-(3) authorizes inter alia excessive force claims
against police officers and provides, emphasis supplied, that:

       (1) A peace officer, as defined in section 24-31-901 (3), who, under color of law,
       subjects or causes to be subjected, including failing to intervene, any other
       person to the deprivation of any individual rights that create binding obligations on
       government actors secured by the bill of rights, article II of the state constitution,
       is liable to the injured party for legal or equitable relief or any other appropriate
       relief.

       352. Individual Police Defendants participated in the deprivation of individual rights
secured by the State Constitution pursuant to Colo. Rev. Stat. §13-21-131 (1)-(3), and Article II,
Section 7 of the Colorado Constitution.

        353. Under Article II, Section 7 of the Colorado Constitution, Victor Moses is entitled
to “be secure” from “unreasonable searches and seizures.”

        354. The above-described excessive force and failure to intervene in excessive force
unreasonably subjected Plaintiff to deprivation and violation of his Colorado constitutional rights
as a person to be free from excessive force and unreasonable seizure.


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      355. Mr. Moses was so incapacitated from Station 2 that he was unable to stand up, walk,
remove his equipment or physically move himself to Station 3 location. Thus, his freedom of
movement was terminated.

        356. This incapacity was known to all Individual Police Defendants and rendered him
into police custody.

       357. These intentional assaults also terminated his ability to voluntarily consent to
continue fighting and risk further bodily injury.

        358. These intentional assaults also thereby created an involuntary custodial wardship
and a joint duty among all the Defendants to stop the use of force against him.

         359. All of the Individual Defendants to this claim actively participated in, authorized,
facilitated, tolerated, enabled, engaged in or permitted a coordinated use of excessive force on
Victor Moses.

      360. All the Defendant officers contributed to the excessive force in this case. Their
conduct is to be judged as a whole.

       361. Not one Individual Defendant Law Enforcement Officer intervened to timely stop
the excessive force against Mr. Moses despite their duty and opportunity to do so.

       362.    Defendants to this claim are jointly and severally liable.

        363. In failing to intervene to protect Victor Moses’s health, life and welfare, and
actually deciding to continue Fight Day after he was incapacitated, these peace officer Defendants
all ignored the obvious serious risks to his life, health and safety of which they were each aware.

       364. Individual Defendants to this claim are not immune from suit, the CGIA does not
apply to this claim, and there is no qualified immunity or any other form of immunity for this
claim.

        365. These violations by Individual Police Defendants proximately caused Plaintiff all
the damages injuries and losses he has described herein and entitle him against each of these
Defendants individually and collectively the resulting past, ongoing and future general,
compensatory, special, economic, non-economic and punitive damages, attorneys fees and costs
he has identified above.

       366. Under 13-21-131, C.R.S. the Defendant City and County of Denver is expressly
required to indemnify all the Defendant peace officers for all the injuries, damages and losses they
have caused to Victor Moses.




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        367. As a relatively new statute, the Colorado Supreme Court has not determined the
precise standard for claims against peace officers for deprivations of rights to be free from
excessive force and seizure under Article 2, Section 7. Specifically, it has not determined the full
extent and nature of the right to be free from unreasonable force or seizure and thus this is therefore
a matter of first impression. See Colo. Rev. Stat. § 13-17-201(2).

                             SECOND CLAIM FOR RELIEF
        Violation of 42 U.S.C. § 1983 – Fourth Amendment Excessive Force/Seizure
                                  (Against All Defendants)

        368. Plaintiff hereby incorporates all other paragraphs of this Complaint as if they were
fully set forth again here.

       369.    42 U.S.C § 1983 provides that:

       Every person, who under color of any statute, ordinance, regulation, custom or
       usage of any state or territory or the District of Columbia subjects or causes to be
       subjected any citizen of the United States or other person within the jurisdiction
       thereof to the deprivation of any rights, privileges or immunities secured by the
       constitution and law shall be liable to the party injured in an action at law, suit in
       equity, or other appropriate proceeding for redress . . .

       370. Victor Moses is a citizen of the United States and Defendants to this claim are all
persons for the purposes of 42 U.S.C. §1983.

         371. Each Individual Defendant to this claim was acting under color of state law and is
liable to the Plaintiff for violation of 42 U.S.C. §1983.

        372. Under the Fourth Amendment, Plaintiff had a clearly established constitutional
right to be secure in his person against unreasonable seizure and excessive force.

        373. At the time of the events, Mr. Moses was a police recruit engaged in use of force
training procedures. At no time was he a criminal suspect. He did not pose any imminent threat
of death or serious bodily harm to anyone. He was incapacitated and defenseless. He was known
to be unarmed. He was not attempting to flee or resisting arrest. He was unable to move, stand or
walk.

         374. It is clearly established that police officers, including police recruits, do not forfeit
their constitutional rights when they become a member of the police force. They maintain their
constitutional rights (including Fourth Amendment rights) which, if violated by a state actor, can
result in liability under state and federal law.

       375. The Fourth Amendment also prohibits excessive force and unreasonable seizure by
a government agent against a government agent.



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       376. At all times, police officers maintain their right to be free from unreasonable
seizures and excessive force by fellow officers while performing police work.

        377. Victor Moses became incapacitated as he was in and out of consciousness. Because
of his incapacitated state, he was unable to consent to continue Fight Day.

       378. His freedom of movement and ability to leave on his own was restricted by his
incapacity and the continued intentional use of force against him including even laying on top of
him as shown in the picture above until he lost consciousness for minutes.

        379. All Individual Defendants knew he could not consent to continued use of force
against him. All Individual Defendants know it is excessive force to assault someone who is
defenseless and incapacitated. All police and paramedics know that they are required to intervene
to stop excessive police force from being inflicted on incapacitated persons in their custody and
care.

        380. These drills were governed by these clearly established Fourth Amendment
principles, with the stated purposes in DAD documents of conducting training and testing recruits
in de-escalation of force, and rendering aid during police contacts as needed.

       381. Individual Defendants continued to use unnecessary, objectively unreasonable, and
excessive force on an incapacitated Plaintiff.

        382. All Defendant officers who were involved in supervising, training, testing, assisting
or role playing in the training of police recruits during Victor Moses’s Fight Day drills knew that
these constitutional principles applied to them, including their disengaging and de-escalating as
appropriate, and their “rendering aid” for recruits whose health or safety was jeopardized during
these events.

         383. Any reasonable police officer involved in this training should have realized that the
complained of continued use of force against Victor Moses, the failure to intervene to immediately
stop it from continuing, and the failure to secure emergency care and aid, was unconstitutional.

        384. All police Defendants were also all on fair notice that the conduct complained of
hereinafter was an egregious violation of the Fourth Amendment rights of Plaintiff Moses
jeopardizing his health and safety -- the very rights they were there to train and teach recruits to
follow.

        385. Paramedic Defendants as his caregivers knew they were not qualified to diagnose
the cause of his symptoms, to rule out serious conditions or to practice medicine in clearing recruits
to keep fighting. Despite knowing of his symptoms and their inability to clear him by training and
licensure, Paramedic Defendants actively approved the continued use of force against him by
“clearing” him to continue.




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       386. Paramedics were operating as police adjuncts and agents in facilitating the
continuation of Fight Day drills by “clearing” recruits to continue to be assaulted even when faced
with symptoms the cause of which they knew they could not diagnose.

        387. All Individual Defendants knew Mr. Moses was being subjected to excessive force
and unreasonable seizure, but did not intervene. They also were aware of his medical condition,
his incapacity, his SCT, and the extremely concerning medical condition he was in.

        388. His incapacity and his resulting involuntary custody was so obvious that, in order
to continue to fight with and further assault him, the trainers of the drill gave direct orders to have
Station 3 brought to him because his freedom of movement had been terminated by the
unreasonable excessive force from the intentional assaults inflicted on him in Station 2.

      389. These intentional assaults also thereby created a custodial wardship and a joint duty
among all the Defendants to stop his beating.

       390.    Each of the Individual Defendants personally participated in the excessive force.

       391. Individual Paramedic Defendants as police adjuncts and agents also had a
Constitutional Duty to intervene to stop the excessive force, and an opportunity to do so but
allowed it to continue.

       392. Individual Defendants engaged in the complained of conduct despite being
expressly aware of Plaintiff’s known serious medical needs and recklessly disregarding a
substantial risk of physical harm and death to Plaintiff.

        393. Defendant City and County of Denver and Denver Health are liable under 42 U.S.C.
§ 1983 for maintaining deliberately indifferent policies, customs and practices, which were moving
forces in the violation of Mr. Moses’ Fourth Amendment rights, his injuries, damages, and losses.
This was part of an aggravated pattern and practice of encouraging excessive force, as alleged in
the statement of facts.

        394. The unconstitutional acts and omissions of Entity Defendants were moving forces
in the unconstitutional acts of the Individual Defendants.

       395.    Entity Defendants jointly facilitate Fight Day.

       396. Fight day itself, coupled with the culture and expectation of pushing recruits
through all the stages regardless of their incapacity was a policy choice by the City and County of
Denver.

       397. Defendant Denver’s “Fight Day” training regimen is an implemented or executed
policy statement, ordinance, regulation, or decision officially adopted or promulgated by the
Department of Public Safety and the Denver Police Department and their respective management



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and command staffs, whose edicts or acts may fairly be said to represent official policy of the City
of Denver.

       398. The same is true for DHHA and their management and medical leadership staffs,
whose edicts or acts may also be said to fairly represent official policy of DHHA, which was also
a moving force in causing the complained of conduct and injuries. Monell v. Dept. of Social
Services, 436 U.S. 658, 690 (1978).

        399. Defendant Denver and DHHA are both liable for the injuries described more fully
herein for the constitutional deprivations visited upon Plaintiff Moses pursuant to Denver’s and
DHHA’s “custom” even if such custom had not received formal approval through Denver’s of
DHHA’s official decision-making channels. Monell v. Dept. of Social Services, 436 U.S. 658, 690-
91 (1978).

       400. “Fight Day” training drills have been so permanent and well settled as part of the
Denver Police Academy’s training regimen that they constitute a “custom or usage” with the force
of law within Denver. Monell v. Dept. of Social Services, 436 U.S. 658, 691 and fn. 56 (1978).

        401. Both Entity Defendants approach Fight Day as something that must be completed
no matter the cost, creating, tolerating and condoning a culture of senseless violence against
recruits even though both knew it to be likely to cause constitutional violations and serious injuries.

         402. Denver Police and Denver Health jointly work to staff Fight Day with paramedics,
who are recklessly underqualified within their medical licensure to diagnose and “clear” a recruit
with medical symptoms to continue to be assaulted. These Entity Defendants do so to give Fight
Day a false air of safety, when in fact these organizations have done nothing to develop obviously
needed training on the recurring situation of serious medical symptoms, and specifically SCT, and
that the only proper role for paramedics is to provide care, secure emergency medical attention, or
to facilitate communications between individuals and entities about medical conditions of recruits.

        403. Entity Defendants were deliberately indifferent in failing to adopt obviously needed
regulations or procedures for Fight Day for recruits with SCT, a foreseeable and recurring issue,
despite knowing of the well-established procedures that allow those with SCT to fully participate
in similar professions, such as the army, and the recurring nature for the need for such procedures.

       404. It was the execution of Defendant Denver’s and Defendant DHHA’s policies and
customs that inflicted the injuries upon Plaintiff Moses. Monell v. Dept. of Social Services, 436
U.S. 658, 694 (1978).

        405. Entity Defendants were deliberately indifferent in failing to adequately train
Academy law enforcement and paramedic staff regarding SCT, a foreseeable and recurring issue,
despite knowing of the well-established dangers to the safety, health and well-being of people with
sickle cell trait, the vast majority of whom are Black, when subjected to extreme physical stressors
at substantial elevation with only short rest periods, such as were mandated for the Fight Day event
at issue here.


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        406. The acts or omissions of Defendants as described herein deprived Mr. Moses of his
constitutional rights and were substantial significant contributing proximate causes of Mr. Moses’
injuries and damages.

      407. DHHA, Denver Police, Individual Police Defendants and Individual Paramedic
Defendants are all jointly and severally liable for the complained of injuries.

        408. As a proximate result of Defendants’ unlawful conduct, Mr. Moses has suffered
injuries and losses, including economic damages in the form of lost past and future wages,
diminished earning capacity, past and future medical expenses, and including non-economic
damages in the form of loss of constitutional rights, pain, suffering, inconvenience, loss of
enjoyment of life, and diminished quality of life and other special damages, all in amounts to be
proven at trial.

        409. Plaintiff is also entitled to punitive damages against Individual Defendants, as their
actions were done maliciously, and with a reckless disregard to the rights of Plaintiff.

      410. Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C.§1988, pre-
judgment interest and costs as allowable by federal law.

                            THIRD CLAIM FOR RELIEF
   Due Process and Inalienable Rights Deprivations – Colorado Constitution, Article II,
                                     Sections 25, 3
                              Colo. Rev. Stat. § 13-31-131
                         (Against Individual Police Defendants)

        411. Plaintiff hereby incorporates all other paragraphs of this Complaint as if they were
fully set forth again here.

       412. Plaintiff Moses brings this action against Defendants Todd Gentry, Stephen
Marino, Anthony Norman, Felipe Cervantes, Kyle Carter, Johanna Aitken, Lisa Aitken-Nelson,
Jason Moore, Damon Roman, E. M. Alfaro and Brian Camozzi, each in their individual capacities.

       413.      At all times relevant hereto, all Defendants to this claim were acting under the
color of law in their capacities as police officers or technicians working for the City and County
of Denver and the Denver Police Department. Each was a peace officer as peace officer is defined
by Colo. Rev. Stat. § 24-31-901(3).

       414. Mr. Moses was so incapacitated from Station 2 that he was unable to stand up, walk,
remove his equipment or physically move himself to Station 3. Thus, his freedom of movement
was terminated.

        415. This incapacity was known to all Individual Police Defendants and rendered him
into police custody.


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       416. These intentional assaults also terminated his ability to voluntarily consent to
continue fighting and risk further bodily injury.

        417. Mr. Moses had a right under the Colorado Constitution Article II, Sections 25 and
3 of the Colorado Constitution, to receive timely reasonable and/or non-deliberately indifferent
medical care for his obvious medical emergency, to preserve his liberty and his life, and to secure
his enjoyment of his liberties and his right to seek and obtain his safety and happiness.

        418. Under these sections of the Colorado Constitution, he had the right not to be
“deprived of life, liberty or property, without due process of the law” and he enjoyed the same
rights as “[a]ll persons have certain natural, essential and inalienable rights, among which may be
reckoned the right of enjoying and defending their lives and liberties; of acquiring, possessing and
protecting property; and of seeking and obtaining their safety and happiness.”

        419. Despite knowing of his incapacity and seizure, and that he was suffering an obvious
medical crisis, all the Individual Police Defendants acted unreasonably and/or were deliberately
indifferent to their constitutional obligations to timely provide, obtain, or advocate for his
emergency medical treatment in violation of the Colorado Constitution.

        420. Individual Defendant Alfaro, along with the paramedics, also participated in
misleading Emergency Room doctors into believing that Mr. Moses had not suffered any trauma
– further violating his rights under the Colorado Constitution and likely causing further injury.

        421. Mr. Moses also had a Due Process right not to suffer arbitrary government action
that shocks the conscience.

       422. The Individual Law Enforcement Defendants’ decision to continue assaulting Mr.
Moses after he had lost consciousness and while his medical condition became obviously emergent
was arbitrary government action, which had no legitimate training (or other) justification.

        423. Continuing to assault an incapacitated individual and doing so to the point of almost
killing that person is egregious and shocks the conscience.

       424. The Individual Defendants’ arbitrary governmental action shocks the conscience,
given the context in which they took this action. Mr. Moses desperately needed real, emergent
medical care to avert the serious risk of death and/or life-altering injury that he faced on that mat.
Defendants’ decision to green-light further assaults on Mr. Moses rather than stopping Fight Day
and immediately transporting him to the hospital foreseeably caused his life to be imperiled and
ultimately his life-altering injuries.

        425. These violations by Defendants also proximately caused Plaintiff’s damages
injuries, and losses, and entitle him against each of these Defendants individually and collectively
the resulting past, ongoing and future general, compensatory, special, economic, non-economic
and punitive damages, attorneys fees and costs he has identified above.


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          426.   Defendants are jointly and severally liable.

        427. Under 13-21-131, C.R.S., Defendant City and County of Denver is expressly
obligated to indemnify the peace officer Defendants to this claim for all the injuries, damages and
losses the individual defendants have jointly caused to Plaintiff.

        428. As a relatively new statute, the Colorado Supreme Court has not determined the
precise standard for claims against peace officers for deprivations of rights to medical care under
Article 2, Sections 25 and 3, of the Colorado Constitution. Specifically, it has not determined the
full extent and nature of the right to timely medical care, and thus this is therefore a matter of first
impression. See Colo. Rev. Stat. § 13-17-201(2).

                               FOURTH CLAIM FOR RELIEF
            Willful and Wanton Acts or Omissions in Violation of C.R.S. § 24-10-118
                       (Against Paramedic Defendants Wham and Sung)

          429.   Plaintiff Moses hereby incorporates the foregoing paragraphs as if fully set forth
herein.

        430. Defendants Wham and Sung at all times relevant hereto were public employees
within the meaning of the Colorado Government Immunity Act, Colo. Rev. Stat. § 24-10-103.

       431. As set forth above, timely notice of claims was given to Denver Health and
Hospitals Authority, “DHHA” under Colo. Rev. Stat. § 24-10-101 et seq including specifically
under § 24-10-106 and § 24-10-118 regarding the willful and wanton acts and omissions by the
Paramedic Defendants named herein.

      432. These individual Defendants are not entitled to immunity under the Colorado
Government Immunity Act because their acts and omissions were willful and wanton within the
meaning of Colo. Rev. Stat. §§ 24-10-105(1) and 24-10-118.

        433. At all times relevant hereto, these Defendants were acting within the scope of their
employment when they committed willful and wanton acts that were a proximate cause of
Plaintiff’s herein described severe and permanent injuries, damages and losses.

       434. These Defendants had EMT-patient relationships and duties to Mr. Moses, which
they breached.

        435. In so acting, Defendant Wham and Sung were consciously aware that their overt
acts or omissions were creating serious danger and risk to the safety and continued health or life
of Plaintiff and yet they decided to act not to act despite duty, heedlessly, recklessly, consciously
and in conscious disregard of the rights, well-being, health, life and safety of others, particularly
with respect to the rights of the Plaintiff here.



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        436. Defendants Wham and Sung willfully and wantonly, thereby recklessly and
consciously created an unreasonable risk of physical harm and caused the Plaintiffs to be put in
danger.

      437.     In the complained of conduct, Defendants Wham and Sung then knew that Mr.
Moses had:

       sickle cell trait; an altered mental state and had been beaten into repeated bouts of
       unconsciousness; extreme fatigue; extreme leg cramping; abnormally low blood
       pressure after such extreme exertional activity; had hit his head hard on the tile; had
       fallen repeatedly; had lost ability to consent; and that many of these symptoms are
       associated with an extremely dangerous sickling event requiring emergency
       medical attention.

       438. The Paramedic Defendants intolerably, willfully, wantonly joined and approved the
continuation of obviously excessive force even though they were consciously aware it was likely
cause serious harm or injury.

      439. These Defendants were then consciously aware of the dangers and risks to Victor
Moses life, health and wellbeing but consciously disregarded those dangers and risk.

        440. These Defendants also participated in misleading Emergency Room doctors into
believing that Mr. Moses had not suffered any trauma – likely causing further injury.

       441. These Defendants practiced medicine recklessly outside their scope, even though
they knew that was likely to cause significant injuries.

         442. These two Paramedic Defendants thus willfully and wantonly gave their entirely
non-medical and utterly pretextual willful and wanton approval and decisional imprimatur to
facilitating Victor Moses continuing to be subjected to excessive force.

        443. After engaging in their charade of a medical assessment wherein they knew every
terrible fact that was then known, as summarized above, the Defendant Paramedics intentionally
blessed this police excessive force continuing knowing it could or would likely further harm Victor
Moses after they removed themselves from the mat to facilitate it.

        444. As a direct and proximate cause and result of Defendants willful and wanton
conduct and omissions, Plaintiff Moses suffered the past, continuing and future injuries, damages
and losses described with particularity in the incorporated herein damages section above and he is
entitled to all the general, compensatory, special, economic and non-economic damages, in
amounts to be proven at trial.

        445. There is no cap under the Colorado Governmental Immunity Act on this state law
claim because these Individual Defendants acts and omissions in this case were willful and wanton
within the meaning of Colo. Rev. Stat. §§ 24-10-118.


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       446. Plaintiff also hereby gives notice that he may be seeking to add a remedy for
exemplary damages for the willful and wanton acts of the Individual Defendants on this state law
claim upon suitable amendment, but is not included such damages in this claim for relief against
these Defendants at this time.

                                FIFTH CLAIM FOR RELIEF
                Negligence in the Operation of a Public Hospital in violation of
                                 Colo. Rev. Stat. § 24-10-106,
                       (Against Denver Health and Hospital Authority)

        447. Plaintiff hereby incorporates all other paragraphs of this Complaint as if they were
fully set forth again here.

       448. Pursuant to the Colorado Governmental Immunity Act, Colo. Rev. Stat. § 24-10-
106, governmental immunity is waived for any action which lies in tort or could lie in tort, resulting
from the negligent operation of any public hospital. A public hospital is an institution or place
where sick or injured persons are given medical or surgical care.

       449.    DHHA operates Denver Health or Denver Health Medical Center, a public hospital.

        450. DHHA is vicariously liable for the negligent acts and omissions of their agents
and/or employees, including but not limited to, Courtney Wham and Taegin Sung, who were acting
as government employees in the scope of their employment.

       451.    DHHA is also directly liable for its own negligence in the operation of a public
hospital.

       452. At all times relevant hereto, the Individual Defendant Paramedics were exercising
and performing the powers, duties and functions vested in them by law with respect to the purposes
and operation of a public hospital.

       453. At all times relevant hereto, the Individual Defendant Paramedics were licensed
paramedics obligated to provide care to Victor Moses with whom they had a patient paramedic
caregiver relationship together with all the attend legal duties of due care.

        454. The work of Individual Defendant Paramedics through the Defendant DHHA
furthers and is directly related to the operation and the purposes of DHHA’s public hospital. The
paramedic services are a core service of DHHA which through the hospital oversees and controls
the paramedic division’s operations, policies and practices. The work of Individual Defendant
Paramedics is supervised and overseen by the public hospital, they are trained by physicians who
work at the hospital.

      455.     In the complained of conduct, Defendants Wham and Sung then knew that Mr.
Moses had:


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       sickle cell trait; an altered mental state and had been beaten into repeated bouts of
       unconsciousness; extreme fatigue; extreme leg cramping; abnormally low blood
       pressure after such extreme exertional activity; had hit his head hard on the tile; had
       fallen repeatedly; had lost ability to consent; and that many of these symptoms are
       associated with an extremely dangerous sickling event requiring emergency
       medical attention.

        456. The Individual Defendant Paramedics to this claim negligently breached their
duties of due care owed to Plaintiff.

       457. DHHA has long supplied paramedics to cover, to participate and to augment the
law enforcement training staff administering Fight Day.

        458. It is approved policy and established practice of DHHA to supply paramedics to
cover and assist Denver Police Department with the Academy’s Fight Day. Such attendance and
participation is intended to support the Denver Police Department’s training regimen for new
recruits and give the impression that Fight Day is safe, when in fact DHHA knows that Fight Day
causes many injuries and that the paramedics are not licensed to be “clearing” recruits to continue.

       459. Denver Health and Hospital Authority is not only vicariously liable for its two
paramedics’ negligent acts and omissions while acting within the scope of their employment and
agency at all times relevant hereto but also had and directly breached its’ own duties of due care
owed to Plaintiff including by, but not limited to:

       a. Having a longstanding policy, practice and custom of assigning, allowing and
          encouraging its paramedics to be posted during Fight Day on location and not properly
          training them that they must not tolerate significant police recruit injuries and rather
          must at all times act as fully independent paramedic professionals rather than as police
          adjuncts and agents with compromised duties of due care in the service of non-medical
          DPD goals of having police recruits like Victor Moses complete fight day regardless
          of the known high risk medical consequences to that recruit;

       b. Not in any way requiring attending paramedics to be reliably aware of or supplied in
          advance with recruit disclosed medical facts relevant to each police recruits Fight Day
          participation that are known to DHHA from its administration of the medical clearance
          assessments of each and every such recruit, including Plaintiff Moses who disclosed he
          had SCT to DHHA agents and employees;

       c. Failing to adequately supervise, and monitor paramedics performing fight day duties
          for DPD;

       d. Failing to exercise reasonable care in the training of its paramedic employees, including
          training regarding their duties of due care in supervising fight day;



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        e. Negligently requiring and allowing paramedics to practice medicine recklessly outside
           of the scope of their licensure in “clearing” recruits to keep fighting; and

        f. Inadequately training paramedics to respond to medical emergencies which foreseeably
           result from Fight Day drills, causing them to focus primarily on causing the recruit to
           complete the drill even if doing so is medically contraindicated, unwise or dangerous,
           rather than properly focusing just on the medical health, welfare and well-being of the
           recruit that is undergoing physically and emotionally rigorous and exhausting trauma.

        460. As a direct and proximate cause and result of Defendant Wham, Defendant Sung
and Defendant Denver Health and Hospital’s negligent acts and omissions in the operation of a
public hospital, in breach of their duties of due care owed to this Plaintiff, Plaintiff Moses has
suffered and these Defendants are all liable to him for the extensive general, compensatory and
special damages, losses and injuries outlined in the statement of facts damages section above which
is incorporated again at this point, all in an amount to be determined by the jury at trial.

         461.   Plaintiff does not seek attorneys’ fees or punitive damages with respect to this claim
for relief.

                              SIXTH CLAIM FOR RELIEF
Violation of 42 U.S.C. § 1983 – 14th Amendment Deliberate Indifference to Medical Needs
                            and Conscience Shocking Behavior
                                 (Against All Defendants)

        462. Plaintiff hereby incorporates all other paragraphs of this Complaint as if they were
fully set forth again here.

        463.    42 U.S.C § 1983 provides that:

        Every person, who under color of any statute, ordinance, regulation, custom or
        usage of any state or territory or the District of Columbia subjects or causes to be
        subjected any citizen of the United States or other person within the jurisdiction
        thereof to the deprivation of any rights, privileges or immunities secured by the
        constitution and law shall be liable to the party injured in an action at law, suit in
        equity, or other appropriate proceeding for redress . . .

       464. Victor Moses is a citizen of the United States and Defendants to this claim are all
persons for the purposes of 42 U.S.C. §1983.

         465. Each individual Defendant to this claim was acting under color of state law and is
liable to the Plaintiff for violation of 42 U.S.C. §1983.

        466. It is clearly established that police officers, including police recruits, do not forfeit
their constitutional rights when they become a member of the police force. Rather they maintain
constitutional rights (including Fourteenth Amendment rights to be free from deliberate

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indifference to medical needs) which, if violated by a state actor, can result in liability under state
and federal law.

        467. Victor Moses became incapacitated as he was in and out of consciousness. Because
of his incapacitated state, he was unable to consent to continue Fight Day, but continued to be
assaulted.

       468. These intentional assaults created a custodial wardship and a joint duty among all
the Defendants to secure provision of the immediate emergency medical care he obviously needed.
Mr. Moses was seized, incapacitated, and involuntarily in custody.

        469. As such, Mr. Moses was protected from deliberate indifference to his known
serious medical needs by the Fourteenth Amendment.

       470. All police officers know they must obtain or provide medical care to people who
become incapacitated after intentional police force has been inflicted upon them. All paramedics
know they may not be deliberately indifferent in providing care to their patients These drills were
governed by these core Fourteenth Amendment principles, with the stated purposes in DAD
documents of conducting training and testing recruits in de-escalation of force, and rendering aid
during police contacts as needed.

        471. All Defendant officers who were involved in supervising, training, testing, assisting
or role playing in the training of police recruits during Victor Moses’s Fight Day drills knew that
these constitutional principles applied to them as well, including their disengaging and de-
escalating as appropriate and their “rendering aid” for recruits whose health or safety was
jeopardized during these events.

         472. All reasonable police officers involved in this training should have realized that the
failure to immediately stop using force and secure emergency care and aid was unconstitutional.

        473. All police Defendants were also all on fair notice that the conduct complained of
hereinafter was an egregious violation of the Fourteenth Amendment rights of Plaintiff Moses
jeopardizing his health and safety -- the very rights they were there to train and teach recruits to
follow.

         474. Mr. Moses also had a substantive due process right to be free from arbitrary,
egregious and outrageous behavior by governmental officials including the Individual Defendants
to this claim that may be fairly said to shock the contemporary conscience in a constitutional sense.

        475. Continuing to assault an incapacitated individual and doing so to the point of almost
killing that person is egregious and shocks the conscience.

       476. The Individual Defendants’ arbitrary governmental action shocks the conscience,
given the context in which they took this action. Mr. Moses desperately needed real, emergent
medical care to avert the serious risk of death and/or life-altering injury that he faced on that mat.


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Defendants’ decision to green-light further assaults on Mr. Moses rather than stopping Fight Day
and immediately transporting him to the hospital foreseeably caused his life to be imperiled and
ultimately his life-altering injuries.

        477. Each of the Individual Defendants personally participated in the deliberate
indifference to the known serious medical needs of Plaintiff.

        478. Each Individual Defendant knew of his incapacity, his SCT, his extremely
concerning medical condition, yet paramedic defendants “cleared” Mr. Moses to continue being
assaulted, and Individual Law Enforcement Defendants continued the assault.

      479. At the time, Paramedic Defendants were caregivers to Plaintiff with patient
paramedic duties. Their conduct in abandoning him as a patient was egregious and shocking.

        480. All Individual Defendants to this claim were acting as gatekeepers to Mr. Moses
being transported emergently to the hospital, as he clearly needed to be. Their delay in obtaining
timely care for a person in their custody and control constituted deliberate indifference.

        481. All Individual Defendants, as willful participants in a joint activity, actually knew
of Mr. Moses’ serious medical needs and deteriorating condition and nonetheless, with deliberate
indifference, decided not to provide him with obviously necessary urgent medical care.

       482. The Individual Defendant Paramedics were deliberately indifferent in ‘clearing’
Mr. Moses when they knew he was in an emergency condition, needed higher level care than they
could provide, and delayed access to that care in service of a police and non-medical goal.

         483. Individual Law Enforcement Defendants were deliberately indifferent in recklessly
failing to obtain obviously needed medical emergency care.

       484. In doing so, all Individual Defendants were aware of Plaintiff’s serious medical
needs and recklessly disregarding a substantial risk of physical harm and death to Plaintiff.

       485. Individual Defendants Alfaro, Wham and Sung also participated in fraudulently
misleading Emergency Room doctors into believing that Mr. Moses had not suffered any trauma.

       486. Defendant City and County of Denver and Defendant DHHA are liable under 42
U.S.C. § 1983 for maintaining deliberately indifferent policies, which resulted in the violation of
Mr. Moses’ Fourteenth Amendment right to constitutionally adequate medical care and to humane
conditions of confinement.

        487. The unconstitutional acts and omissions of Entity Defendants were moving forces
in the unconstitutional acts of the Individual Defendants.

       488.    Entity Defendants jointly facilitate Fight Day.



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        489. It is a well settled practice of the City and County of Denver and of DHHA to jointly
operate “Fight Day” with deliberate indifference to the obvious likelihood of resulting serious
injury and medical needs, but simultaneously enforce and/or tolerate a culture of completing Fight
Day no matter what the cost. This custom and practice is so widespread and settled they constitute
a “custom or usage” with the force of law. Monell v. Dept. of Social Services, 436 U.S. 658, 691
and fn. 56 (1978).

        490. It was the execution of Entity Defendants policies and customs that inflicted the
injuries upon Plaintiff Moses. Monell v. Dept. of Social Services, 436 U.S. 658, 694 (1978).

        491. Defendant Denver Police and DHHA were both deliberately indifferent in failing
to adequately train Academy law enforcement and medical staff regarding SCT, a foreseeable and
recurring issue, despite knowing of the well-established dangers to the safety, health and well-
being of people with sickle cell trait, the vast majority of whom are Black, when subjected to
extreme physical stressors at substantial elevation with only short rest periods, such as were
mandated for the Fight Day event at issue here.

        492. Entity Defendants were deliberately indifferent in failing to adopt obviously needed
regulations or procedures for Fight Day for recruits with SCT, a foreseeable and recurring issue,
despite knowing of the well-established procedures that allow those with SCT to fully participate
in similar professions, such as the army, and the recurring nature for the need for such procedures.

        493. Entity Defendants have made a policy decision to allow paramedics to serve as part
of law enforcement, serving the reckless end goal of pushing recruits through excessive force with
deliberate indifference to their known serious medical needs.

       494. Entity Defendants have a deliberately indifferent policy, pattern, practice and
custom of requiring paramedics assigned to Fight Day to practice medicine recklessly outside their
scope in diagnosing and “clearing” recruits to keep fighting in the face of serious symptoms.

        495. As a proximate result of Defendants’ unlawful conduct, Mr. Moses has suffered
injuries and losses, including economic damages in the form of lost past and future wages,
diminished earning capacity, past and future medical expenses, and including non-economic
damages in the form of loss of constitutional rights, pain, suffering, inconvenience, loss of
enjoyment of life, and diminished quality of life and other special damages, all in amounts to be
proven at trial.

      496. The acts or omissions of Defendants deprived Mr. Moses of his constitutional rights
and were substantial significant contributing proximate causes of Mr. Moses’ injuries and
damages.

       497. The unconstitutional acts and omissions of Entity Defendants were moving forces
in the unconstitutional acts of the Individual Police Defendants and Individual Paramedic
Defendants and were substantial significant contributing proximate causes of Mr. Moses’ injuries
and damages.


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      498. DHHA, Denver Police, Individual Police Defendants and Individual Paramedic
Defendants are all jointly and severally liable for the complained of injuries.

         499.   Plaintiff is also entitled to punitive damages against Individual Defendants to this
claim.

      500. Plaintiff is entitled to attorneys’ fees and costs pursuant to 42 U.S.C.§1988, pre-
judgment interest and costs as allowable by federal law.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor
and against each Defendant, and award him all relief allowed by law, including but not limited to
the following:

         A.     All appropriate relief at law and equity;

         B.     Declaratory relief and other appropriate equitable relief;

         C.     Economic losses including past and future lost earnings, impaired earnings
                capacity, past, ongoing and future medical and hospital charges on all claims and
                all other past, ongoing and future damages specified in the complaint in this
                category including a life care plan, as allowed by law;

         D.     Compensatory and consequential damages, including damages for emotional
                distress, humiliation, loss of enjoyment of life, and all other past, ongoing and
                future pain and suffering, disfigurement, permanent disabilities, scarring, and the
                like including all such damages specified in the complaint factual section pertaining
                to his injuries, damages and losses on all claims allowed by law in an amount to be
                determined at trial;

         E.     Punitive damages on all claims allowed by law and in an amount to be determined
                at trial and upon suitable amendment with respect to the Fourth Claim for relief;

         F.     Attorney fees and the costs associated with this action under 13-21-131. C.R.S. and
                42 U.S.C. § 1988, including expert witness fees, on all claims allowed by law
                Attorney fees are not sought on the Third and Fourth Claims for relief;

         G.     Pre-and post-judgment interest at the lawful rate; and

         H.     Any other appropriate relief at law and equity that this Court deems just and proper.

   PLAINTIFF HEREBY DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE



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           DATED this 30th day of July 2024.

                                       HOLLAND, HOLLAND EDWARDS, & GROSSMAN, LLC

                                       /s/ John R. Holland
                                       John R. Holland, # 5246
                                       Anna Holland Edwards, # 35811
                                       Erica Grossman, #39342
                                       1437 High Street
                                       Denver, CO 80218
                                       john@hheglaw.com

                                       KILLMER, LANE & NEWMAN, LLP

                                       /s/ Darold W. Killmer
                                       Darold W. Killmer # 16056
                                       Reid Allison # 52754
                                       1543 Champa Street, Suite 400
                                       Denver, Colorado 80202
                                       Phone: (303) 571-1000
                                       Facsimile: (303) 571-1001
                                       dkillmer@killmerlane.com

                                       ATTORNEYS FOR PLAINTIFF




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                                 CERTIFICATE OF REVIEW

        This is to certify that undersigned counsel has conferred, pursuant to Colorado statutes,
with a person who has expertise in the areas of alleged negligence and deliberate indifference. This
professional has reviewed the known facts, including such records, documents, and other materials
deemed relevant to the Complaint’s allegations of negligent acts and omissions by DHHA and the
Defendant paramedics including their willful and wanton conduct, and has concluded that the
filing of these state law claims do not lack substantial justification and in fact are substantially
meritorious and involve clear violations of the standards of care involved. No such certification
is required for the state and federal civil rights claims against the police and City related
defendants.

                                              /s/ John Holland
                                              John Holland

Plaintiff’s Address:
Victor Moses
891 14th Street, Apt 2705
Denver, CO 80202




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